Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 1 of 53

JS 44 (Rev, 06/17)

The JS 44 civil cover sheet and the information contained herein neither re
provided by local rules of court, This form, approved by the Judicial Con

CIVIL COVER SHEET

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

lace nor supplement the filing and service of pleadings or other papers as required by law, except as
erence of the United States in September 1974, is required for the use of the Clerk of Court for the

 

I. (a) PLAINTIFFS

TALEN ENERGY MARKETING, LLC

(b) County of Residence of First Listed Plaintiff

LEHIGH, PA

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Joseph S. D'Amico, Jr.

FITZPATRICK LENTZ & BUBBA, PC
4001 Schoolhouse Lane, Center Valley, PA 18034; 610-797-9000

DEFENDANTS

NOTE:

Attorneys (/f Known)

 

County of Residence of First Listed Defendant

ALUMINUM SHAPES, LLC

Camden, NJ _

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “X"' in One Box Only)

U.S, Government
Plaintiff

01

O 2. US. Government
Defendant

A 3 Federal Question

(U.S. Government Not a Party)

04 Diversity
(Indicate Citizensh

ip of Parties in Item Hl)

 

IV. NATURE OF SUIT (Place an "X" in One Box Only)

Foreign Country

(For Diversity Cases Only)

It. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X”" in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State oO} OQ 1 Incorporated or Principal Place W404
of Business In This State
Citizen of Another State o2 O 2. Incorporated and Principal Place os &s
of Business In Another State
Citizen or Subject of a 03 O 3. Foreign Nation o6 O6

Click here for: Nature of

Suit Code Descriptions.

 

 

 

FORFEMURE PENALTY]

 

[ CONTRACT TORTS
© 110 Insurance PERSONAL INJURY PERSONAL INJURY
OG 120 Marine 0 310 Airplane C1 365 Personal Injury -

O 130 Miller Act

XX 140 Negotiable Instrument

OF 150 Recovery of Overpayment
& Enforcement of Judgment

O IS! Medicare Act

C1 152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

1 153 Recovery of Overpayment
of Veteran’s Benefits

QO 160 Stockholders’ Suits

O 190 Other Contract

C1 195 Contract Product Liability

C315 Airplane Product
Liability

0 320 Assault, Libel &
Slander

© 330 Federal Employers’
Liability

0 340 Marine

C1 345 Marine Product
Liability

OD 350 Motor Vehicle

0) 355 Motor Vehicle
Product Liability

O 360 Other Personal

O 625 Drug Related Seizure
of Property 21 USC 881

BANKRUPTCY.

 

C1 422 Appeal 28 USC 158
O 423 Withdrawal

 

 

Product Liability 0 690 Other 28 USC 157

O 367 Health Care/
Pharmaceutical z
Personal Injury O 820 Copyrights
Product Liability 0 830 Patent

O 368 Asbestos Personal O 835 Patent - Abbreviated
Injury Product New Drug Application
Liability O 840 Trademark

PERSONAL PROPERTY LABOR SOCIAL SECURITY

O 370 Other Fraud O 710 Fair Labor Standards 0 861 HIA (1395ff)

CO 371 Truth in Lending Act 1 862 Black Lung (923)

O 380 Other Personal © 720 Labor/Management GC 863 DIWC/DIWW (405(g))
Property Damage Relations O 864 SSID Title XVI

 

 

 

OC 196 Franchise Injury 0 385 Property Damage
© 362 Personal Injury - Product Liability
Medical Malpractice
| REAL PROPERTY. CIVIL RIGHTS PRISONER PETITIONS
O 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus:

OG 220 Foreclosure

O 230 Rent Lease & Ejectment
O 240 Torts to Land

© 245 Tort Product Liability
C290 All Other Real Property

 

0 441 Voting

O 442 Employment

O 443 Housing/
Accommodations

C1 445 Aimer. w/Disabilities -
Employinent

GF 446 Amer, w/Disabilities -
Other

0) 448 Education

O 463 Alien Detainee

510 Motions to Vacate
Sentence

O 530 General

O 740 Railway Labor Act
0 751 Family and Medical
Leave Act

C1 865 RS] (405(g))

 

QO 790 Other Labor Litigation

FEDERAL TAN SUITS

 

G 791 Employee Retirement
Income Security Act

 

OF 535 Death Penalty

IMMIGRATION

 

Other:
© 540 Mandamus & Other
G 550 Civil Rights
0 555 Prison Condition
4 560 Civil Detainee -
Conditions of
Confinement

 

 

0 462 Naturalization Application
O 465 Other Immigration
Actions

 

O 870 Taxes (U.S. Plaintiff
or Defendant)

0 871 IRS—Third Party
26 USC 7609

 

 

OTHER §

0) 375 False Claims Act

O 376 Qui Tam (31 USC
3729(a))

4 400 State Reapportionment

0 410 Antitrust

O 430 Banks and Banking

O 450 Commerce

OD 460 Deportation

1 470 Racketeer Influenced and
Corrupt Organizations

O 480 Consumer Credit

OF 490 Cable/Sat TV

1 850 Securities/Commodities/
Exchange

O 890 Other Statutory Actions

O 89! Agricultural Acts

© 893 Environmental Matters

0 895 Freedom of Infonnation
Act

O 896 Arbitration

O 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

C1 950 Constitutionality of

State Statutes

 

 

V. ORIGIN (Place an “X” in

PK Original
Proceeding

112 Removed from
State Court

One Box Only)

Oo 3

Remanded from o4

Appellate Court

Reinstated or O 5 Transferred from © 6 Multidistrict OG 8 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 U.S.C. § 1332(a)(1),

Brief description of cause:

 

 

The matter in controversy exceeds the sum or value of $75,000

 

 

 

 

VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 1,215,310.21 JURY DEMAND: Ol Yes No

VII. RELATED CASE(S)
IF ANY (Seeinsiructions): og DOCKET NUMBER

DATE SIGNATURE OF ATTORNEY DF RERORD- “\S

™ 9/18/9014 et a 4

FOR OFFICE USE ONLY f ‘ (J Ne

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 2 of 53

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

TALEN ENERGY MARKETING, LLC, CIVIL ACTION
Plaintiffs
Vv.
ALUMINUM SHAPES, LLC, Defendant. : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track

to which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by

the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management — Cases that do not fall into any one of the other tracks.

f ] | 3/ 20] 9 Joseph S. D'Amico, Jr. PLAINTIFFS
t t ¥

()

( )
( )

( )

)
(X)

 

 

 

Date Attorney-at-law Attorney for
610-797-9000 610-289-8688 jsdamico@flblaw.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 3 of 53

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

 

 

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: 600 Hamilton St., Suite 600, Allentown, PA 18101
Address of Defendant: 9000 River Road, Delair, NJ 08110
Place of Accident, Incident or Transaction:
RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:

 

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1, _ Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No []
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [] No []
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ No [ ]
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No []
case filed by the same individual?

I certify that, to my knowledge, the within case (1 is / [2] is not related to any case now ending or within one year previously terminated action in
this court except as noted above:

DATE: F)1¢laolt Cat nites < Da - 55645

C attorney: at-Law / Pro Se Plaintiff) Attorney LD. # (ifapplicable)

 

 

CIVIL: (Place a Vin one category only)

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
1. Indemnity Contract, Marine Contract, and All Other Contracts 1. Insurance Contract and Other Contracts
[] 2. FELA : 2. Airplane Personal Injury
[1 3. Jones Act-Personal Injury C1 3. Assault, Defamation
L] 4. Antitrust LI] 4. Marine Personal Injury

5. Patent [] 5. Motor Vehicle Personal Injury
H 6. Labor-Management Relations CJ 6. Other Personal Injury (Please specify):
CL] 7. Civil Rights CL] 7. Products Liability
[] 8. Habeas Corpus L] 8. Products Liability — Asbestos
EH 9. Securities Act(s) Cases L] 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

Joseph S. D'Amico, Jr.

, counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

DATE: afis holt Soul x: Dt uf (A ~ 55645

\stor) \seconpey- -at-Law / Pro Se Plaintiff. ..- Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2018)

 
Case 5:19-cv-04303-HSP Document 1 Filed 09/18/19 Page 4 of 53

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TALEN ENERGY MARKETING, LLC,

NO.
Plaintiff
v.
ALUMINUM SHAPES, LLC, : CIVIL ACTION
Defendant.
COMPLAINT

Plaintiff Talen Energy Marketing LLC (“Talen”), through its counsel Fitzpatrick Lentz &

Bubba, files a Complaint against Defendant Aluminum Shapes, LLC (“Shapes”) as follows:
PRELIMINARY STATEMENT

1. This is a breach of contract claim for unpaid balances under a Retail Electricity
Agreement between Talen and Defendant Shapes, dated October 26, 2017.

2. Plaintiff seeks damages in the amount of $1,215,310.21 owed by Defendant under
the Retail Electricity Agreement which includes accrued interest on the delinquent amounts as of
August 27, 2019. In addition, Talen seeks recovery of additional interest of $521.38 per day until

the claim is satisfied.
PARTIES

3. Plaintiff Talen is a Pennsylvania limited liability company with an address of 600
Hamilton St., Suite 600, Allentown, PA 18101.
4. Upon information and belief Defendant Shapes is a New Jersey limited liability

company with an address of 9000 River Road, Delair, NJ 08110.
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 5 of 53

JURISDICTION

5. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1),
because (1) the matter in controversy exceeds the sum or value of $75,000 and (2) as set forth

above, there is complete diversity of citizenship between Plaintiff and Defendant.
VENUE

6. Venue is proper in this district under 28 U.S.C. § 1391(b)(2), in that a substantial
part of the events or omissions including negotiation and execution of the contract at issue,

giving rise to the claim occurred in this judicial district.
COUNT ONE — BREACH OF CONTRACT

ir Talen incorporates by reference Paragraphs 1-6 of the Complaint as if fully set
forth herein.

8. Talen and Shapes executed a Retail Electricity Agreement (“Agreement”) on or
about October 26, 2017 whereby Talen was to supply electricity to Shapes’ service address 9000
River Road, Delair New Jersey 08110 commencing in January 2018, in exchange for Shapes’
payment of the “Contract Price” set forth in the Purchase Order section of the Agreement.
Attached as Exhibit “1”, is a copy of the executed Agreement.

9. Talen provided electricity to Shapes at Defendant’s service address in 2018 and
regularly invoiced Shapes for the electricity it consumed.

10. _ Per the agreement Talen invoiced Shapes monthly for electricity delivered to the
Delivery Point in the preceding month. (The invoices admittedly were addressed, in error, to

ShapesArch Holding, LLC rather than Shapes. Talen understands that ShapesArch Holding LLC
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 6 of 53

is or was a former parent company of Shapes) A copy of the invoices are collectively attached
Exhibit “2”.

11. Shapes made some, but not all payments against the invoices thereby
acknowledging the Agreement and obligation to Talen. A summary of invoices payments and
open accruing balances, is attached as Exhibit “3”.

12. Talen has performed all obligations required under the Agreement.

13. Shapes has failed to make payment in full for the electricity provided to and
consumed by it during the Delivery Period as required under the Agreement.

14. Prior to instituting this suit numerous requests and demands for payment,
including correspondence dated August 27, 2019, were directed to Shapes, without a response or
protest from Shapes. A copy of the August 27" letter is attached as Exhibit “4”,

15. In spite of Shapes receipt of monthly invoices as well as demands of payment due
under the Agreement, Shapes has failed to pay the amounts due Talen, nor has it provided any
rationale for its non-payment.

16. Shapes has breached the Agreement with Talen and is liable to Talen in the
amount of $1,215,310.21 as of August 27, 2019, plus further accruing interest at a rate of

$521.38 per day.
COUNT TWO — QUANTUM MERUIT

17. Talen incorporates by reference Paragraphs 1-16 of the Complaint as if fully set
forth herein.

18. In the alternative, the summary of amounts owed under the Agreement, contained
in Exhibits “2” and “3”, reflect the reasonable value of the electricity provided by Talen to

Shapes during the Delivery Period.
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 7 of 53

19. The electricity provided to Shapes allowed Shapes to maintain and operate its
business and facilities, thereby generating revenue.

20.  Asaresult of Talen providing electricity to Shapes at the Delivery Point, and
Shapes consumption of the same, Shapes has benefitted and has become unjustly enriched at
Talen’s expense.

21. Based on the foregoing, there is an implied contract between Talen and Shapes.

22. Shapes is liable to Talen.

WHEREFORE, Talen Energy Marketing, LLC requests judgment in its favor and
Aluminum Shapes LLC in the amount of $1,215,310.21, together with accruing pre- and post-

judgment interest, costs of suit and such further relief deemed just and proper.

Dated: G / | D | o6l 5 Respectfully submitted,

Fitzpatrick Lentz & Bubba, P.C.

on uh AC. F

Joseph. D’ Amico, Jr., Esquiré )
Attorney for Plaintiff al
4001 Schoolhouse Lane

P.O. Box 210

Center Valley, PA 18034-0219
(610)-797-9000
jsdamico@flblaw.com
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 8 of 53

 

VERIFICATION

In accordance with 28 U.S.C.A. § 1746, relating to unsworn declarations under penalty of
perjury, _ yu AWA I | 4ALL ___, verify under penalty of perjury that the statements

made in the foregoing pleading are true and correct to the best of our knowledge, information

and belief.

vaca, lo [19 [each (Lie

| Vice Pree aearr Rewhte.

TAs ALEW EWERGY MARK ETI &, LLC

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 9 of 53

TALEN &

ENERGY

RETAJL ELECTRICITY AGREEMENT

Thia Retail Bleotricily Agreemont (‘Agrooment') seta forth the torma and conditions for the gale of electricity from Seller to Buyer.
This Agreement authorizes a change to, or a continuation of Seller as, Buyer's supplier of oloctricity, It consists of two patts, the
Purchase Order and the Terms and Conditions. If there is a oonfllet between the Purchase Order and the Terms and Conditions, the
Purchase Order shall control, Royer must return an executed Agreement to Seller by 4:00 pm on Oct 26, 2017 or the
Contract Price shall be Invalld and of no effect, Seller ts not bound by this Agreement until it has been signed below,

PART I: PURCHASE ORDER

Buyer: Aluminum Shapes L,L.C.

 

Buyer Contact: Jim Cackowskt
Phone: (856) 317-6308
Fax! (856) 488-5326

Seller: Talen Energy Marketing, LLC

Seller Contact Information: Joe Matlsko
Customer Care Center: 888-289-7603
Fax: 464-601-1494

Email: CustomerCare@talenenergy.com

9000 River Rd.
Delalr, NJ 08110
United States

Buyer Notice Address:
9000 River Rd,

Delair, NJ 08110

United States

Buyer Business Address: /

Soller Business Addresa:
835 Hamilton Street, Suite 160
Allantown, PA 18101

Seller Notice Address:

Floor 2

Attn: Lagal Services

835 Hamilton Streat, Suite 150
Allentown, PA 18101

 

 

Buyer Account ID (Salior Internal Vee Onty):

Payment to Seller by wire:
BNY Mellon, Pittsburgh, PA
Account Number: 38661490

 

 

 

 

Payment to Saller by mail:
P.O. Box 9001660
Loulsvilla, KY 40280-1660

 

 

 

 

 

 

 

 

 

 

 

 

 

ABA Nurnber: 021052053 Phone: 1-800-281-2000
COMMERCIAL TERMS | - _ _ oe

Contract Prica Hourly LMP Charge + 0.894 ¢/kwh (Adder) (Includes SUT) + Pagathrough Costs +
all applicable taxes , unless otherwise specified In any Retall Electric Trigger
Confirmation, Included as Attachment A.

Contract Quantity Buyer confirma the following quantitles to be purchased from Sellar at the Contract
Price are representative of Buyer's historical monthly vofumes and that Buyer hae
no reason to belleve Its usage during the Delivery Perlod will materially vary from
the following: _.

January 2,012,609 kWh | July: 2,236,330 kWh |
February: 1,807,760 kWh | Auguat: 1,023,191 kWh |
March: 1,877,620 kWh | September: 1,780,797 kWh |
Aprik 1,928,204 kWh | October: 1,692,729 kWh |
May: 1,808,080 kWh | November: 1,611,971 kWh
June: 2,076,643 kWh | Oecember: 1,668,671 kWh

Delivery Point | Psec

Delivery Period:

 

v.08.16,16 ~ PO+ T&Ce STANDARD

 

EXHIBIT 1

 

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 10 of 53

Target Start Date

Contract Length (months)
Billing Address

 

Speotat Provisions

 

United States

TALEN =

ENERGY

01/2018
12

9000 River Rd. a
Delair, NJ 08110

 

The Contract Price Includes the 2017 New Jersey Sales and Use Tax (SUT) rate of
6.675%, Should the SUT rate change In the future, the Contract Price willba
adjusted to reflect any changes In SUT,

*Account Information for _1_ accounts follows below.

.BUYER:; Aluminum Shapes L.L.C. SELLER: Talen Energy Marketing, LLC

By: Nam Corkewsehi _. Ss By: -

   

Name: | \ jy _ Chckows! C1. Name: Brus 7 Beose.
‘) | .

Title; Purchazing M AeAvec Title Dizcree Feta € 2E@ Gr

E-Mall: 4, ¢ As le ys a tei @ she pea (le.d om Effective as of the date first above written

¥.02,15,16 -FO+ T&Ce STANDARD

EXHIBIT 1

 
 

GUVONYLS SIRL+Od - OL SEBTA

 

ke SECO't L6'LIg'L | Scezaes"t | 26z°6ay"t L6Lee6"t | SES’SEeZ. bers Sen oereae's | toz"Eze't G2 L467) | OS2°106"1 | saSze

 

 

 

 

 

 

 

 

 

 

 

 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 11 of 53

(dray
ysynesuusa)
tN RBC. BO 0686 SIH REPLSESSROOLCONNAd Sasu
uogduraxS pouDS J2qunY
WLS diz "
RAIS ha SSauppy aa1aseg wey pmOooY 9USoy da #

EXHIBIT 1
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 12 of 53

TALEN =&

ENERGY

PART Il: TERMS AND CONDITIONS

4. Datinitiong. Capitalized terms nat defined In these Terms and Conditlona have (he meaning set forth in the Purohasa Order.
“Adder meane a price for all coats (except LIMP and Pasethrough Coals) to supply Buyer Electricity, Including but not Imnitad to
ancillary servicaa, graen costes and Seller's administrative coats, expresaad In g/kWh,

-'Bundiad Adder’ maane a price for all coste (except LMP) fo supply Buyer Electricity, Including but not limited to capaolty,
tranemission, ancillary eervicas, green costs and Seller'a administrative costs, expressed In ¢/kWh,

“Commencement Date! means with respact to each account listed in the Purchase Order the later of (!) Buyer's firat meter
reading made by the EDC after Buyer becomes aligibla to racelve service from Seller under the EDC's retall access program; or
(lI} the date on which Salter is authorized to supply Electricity to Buyer under (he EDC's retell access program, but ih any evant,
the Commencement Date shall occur no earller than one (1) manth prior to the Targat Start Month.

“Contract Price’ means the amounts specified In Part | hareof, Purchase Order.

“Delivery Paint’ means the PJM zonal Delivery Point at which (he EOC racelves tha Electricity as aat forth in the Purohage

Order.
-'EDC! means the electric distribution company that provides the eleotre lines, bolh above ground and below ground, that deliver

the Electricity to the Faclllty.

EGS! means an electric generation supplier that Is permitted to aell Efectrlolly to oustamers In Pennsylvania.

“Electriclty' magne the alectiicily that Buyer Is purchasing from Sellar purauant to thla Agreement and that will be delivered to
the Dellvery Point by Seller.

‘Facility’ means the commercial or industrial faciliiy-of Buyer at the address(es) set forth In the Purchase Order,

-Forca Majeure’ means an event which |e not within the reasonable control af, and not due to the fault or negligence of, the
party clalming suspended performance, and which, by the exerolse of due diligence such party ie unable to overcome or avold
or cause fo be avolded, Force Majeure Includes: (|) physical events auch ae flood, tornado, hurricane, other unusually severe
storm, lightning, earthquake, fire, exptoaion, (It) Interruption of firm tranamisston by any tranamiesion provider; (ll) acts of others
such as etrlkes, lockouta or other industrial dieturbanoes, rate, eabotage, inaurreotions, terrorism or war and (Iv) order by any
governmental authority.

-'Gross Receipte Tax’ or ‘GRT' means the tax Imposed upon the Sallar’s gross raceipts derlvad from safes of electric energy to
fetall electric customers tn the Commonwealth of Penneylvanla, but does not malude gross recelpts from sales for resale to
peraons eubjact to the tax Impased upon gross recelpte, or gross receipts from sales that are otherwise exempt under asotton
1101 of the Tax Reform Code of 1071 (72 P. S. § 8101).

-'Hourly LMP Charge’ or ‘Hourly Locational Marginal Prioa Charge“ maane the cost to serve each Buyer's kWh of load at the
Delivery Point, as determined for the applicable location and time peried in the PUM Interconnection, L.L.C. (‘PUM’) day ahead
hourly energy market Increased by the Buyer's appropriate losa factor.

-kW' means kilowatt and ‘kWh’ means kilowatt-hour,

-Pasethrough Coste’ means all capacily and transmission charges as charged fo Seller by PJM for eupply of Electricity to Buyer.
PLR Servics' means electric genaration service provided by the supplter of Isat resort.

-'PUC' means the Pennsylvania Public Utiilty Commission and any successor thereto.

-'Targat End Month! maang, with raspeot to each account lated in the Purchage Order, the bifing month during which service for
that parfloular account under this Agreement Is echeduled to end and the final meter read is to ba taken. Buyer acknowledges
that service may end following the Target End Month due to clroumatances outelde of Seller's contrel, Including, without
limitatton, the action (or inaction) of Buyer’e EOC in reading Buyer's mater.

“Target Start Month! shall mean, with raspact to each account listed In the Purchaee Order, the month eet forth In the colurnn
epeciiied on the Purchase Order. The Target Start Month Is the billing month during which the parties anticipate wervios for that
particular account under (hie Agreement will begin, Whila the pertisa will endeavor to have service undor thia Agreement begin
during the Target Start Month, Buyer acknowledges that service may actually begin following the Target Slart Month or In the
month Immediately prior to the Target Start Month due to circumstances outelde of Saller’s control, Including without limitation
the aotton (or fallure to act) of Buyar's EDC th enrolling Buyer or reading Buyer's mater. Buyer agrees that In the event service
for any partloular account begins In the month prlor to the Target Start Month, Buyer will make no claim that such event
conatitutes an improper awitching of Buyer's supplier of electricity purauant to the ragulatione of the PUG governing Stendards
for Changing 4 Buyer's Elaotricity Generation Supplier (62 Pa, Coda Chapter 57, Subchapter M), and Buyer agrees to bs lable

¥v.09.16.18 = PO+ T&Ce STANDARD

EXHIBIT 1

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 13 of 53

TALEN

ENERGY

to pay for any aetvice provided by Saller at the prices apecified In the Purchase Order for such event.

«Target Start Date’ ehall mean, wilh raspact to each account listed in the Purchage Order, the date set forth in the column
apeolfiad on the Purchase Order, The Target Start Date shall fall within the month in which Buyer and Seller anticipate service to
commence under this Agreement for a particular account. Whils the parties anticipate that service under this Agreement will
bagin on the Target Gtart Date, Buyer acknowledges that sarvice may In fact begin on a date before or after the Target Start
Date due to circumstances outslde of Sellers contro}, Including without Itmitatton the action (ar fallure to act) of Buyar'e EDC In
enrolling Buyar or reading Buyer'e mater. Buyer agrees that In the event gervice for any particular account begins prior to the
Target Start Date, Buyer will make no clalm that such event constitutes an Improper switching of Suyer's supplier of electrielty
purauant to the ragulations of the PUC goveming Standards for Changing a Buyer's Electricity Ganeration Supptler (62 Pa.
Code Chapter 57, Subchapter M), and Buyer agrees to bo liable to pay for any service provided by Sellar at the prices spacifled
In the Purchase Ordar for such event.

“Termination Date” means, with respect to each account llsted in the Purchase Order, the date during the Target End Month on
which the final meter read (or estimate) under this Agrasment Is taken by the EDC, or If there Is no final meter read (or estimate)
during the Target End Month, the date during (he next aucceading month on which the final meter reed (or estimate) le taken by

ihe EDC.

2. Salo_and Purchase. Commencing as of the Commencement Date, Seller shall sell and deliver, or be responsible for dellvary
of and Buyer shall purchase and recelve Ite ful Electricity requirements at the Facility through the end of the Delivery Period.
The Contraot Price Includes the Efactricity and asgcolated costs of delivering the Electricity ta Buyer's EDC for dellvery to Buyer
and will be applied to the total kWhs of Electricity usage purchased from Seller as metered (or estimated) by Buyers EDC
during each billing period. if the EDC's meter read or billing oyole (EDC Cycia"} is not a calendar month, Sellar may adjuat the
monthly periods In the Delivery Pertod to allgn to the extant practical to the EDC Cyole to begin during the Target Stari Month or
on the Target Start Date and to end during the Target End Month. In the event that servica continues beyond the Target End
Month for any reaaon, Buyer agresa that It wil continue to be liable to pay for any servics provided by Soller at the pricas

speoliied In the Purohase Order.

The sole and exciuslve ramedy of the parties far breach of the obligations In this Section 2 of Seller to dallver and of Buyer to
racelve Eleatrlolty shall be racovery of elthar of tha fallowing: (I) In the event of a breach by Seller, Seller shall relmburas Buyer
the commercially reasonable amount paid by Buyer to replace undelivered quaniitias, plue any applicable EDC penalties
assootated with non-dallvery by Seller, minus an amount equal to the Contract Price mullipiled by euch undelivared quantities; or
(li}In the event of a breach by Buyer, Buyer ahall pay Seller an amount equal to the Contract Prica multip{lad by the nonracolvad
quantiles lees any commerolally reasonable amount racalved by Sailer through resale of the nenrecelved quantities plus any
applicable EDC penalties associated with non-racelpt by Buyer, The amount as calculated above shall be payable five business
days after preaentation of the performing party's Invaice, whioh shall set forth the basis upon which such amount was calculated.

3. Buyer Objigalione. Buyer shall provide Selfer caoparailon and assistance a6 Saller reasonably raqueats In connectlon with
thle Agreement, Including elgning authorizations for the EDC, Buyer ehall (I) make and malntain all arrangements with the EDC
so that dellvery service te provided to the Facility by the EDC; (ll) keep Seller informed of any materlal changes in ita usage
{cassatian of all usage at any one account shall be deemed to be material); (III) notify Seller whenever Buyer plane to commit to
raduce Its consumption for any reason, including but not limited to demand reaponee, energy efficiency or the [Ike, and (Iv)
ralmburse Selfer, In additlor to all amounts due under Sections 8 and 10, for all costs and expense Seller Incurs as a dlract or
Indireot result of Buyer's falture undar elther (I!) or (lil) above, Buyer expresaly acknowledges that Seller has no finanolal or other

abfigation relating to EDC dalivery service.

Buyer undaratands that by executing this Agreement, Seller will be provided certain basic information about Buyer by the EDC,
tnoluding, but not limited to, account number, data about meter readings, fate claés and electric usage, Buyer's addrasa(es) and
telephone number, and whether or not Buyer Is on a budgal billing plan or payment arrangement or as atherwise approved by
the PUG Bureau of Consumer Services. Buyer further underetanda that the EDC |é required by PUG to cammunicale with Buyer
following a notice of change of EGS to confirm the change was quihorized and that such communicatton may Indicate that Buyer
may oanoal or rascind the change within a certaln period of time. Buyar acknowledges that a changa to (or continuation of)
Seller ae EGS Is authorized by thie Agreement, that such notice dase not afford Buyer an apportunity to reecind a duly executed

v.00.16.18 — PO+ T&Cs STANDARD

EXHIBIT 1

 

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 14 of 53

TALEN =

ENERGY

aupply agresment without penalty and that a cancellation or reactesion In response to such notice Would be an Event of Defauit
by Buyer hereunder,

4. Polos. Buyer shall pay Seller for the Efeotrioity at tha Contract Price, plus all athar charges provided for In the Purchase
Order.

&. Payment Torna, Seller or the EDC shall Invoice Buyer monthly, or In accordance with the EDC rules, for Elaotrelty dallvared
fo the Delivery Point in the preceding month. Buyer shall pay the amount of sach Invoice ether In accordance with the EDC's
payment terms or on or before the twentieth day alter the applicable invoice date. H Buyer does not pay the Involce, or a party
does not pay any other amounts ae and when due hereunder, including a Termination Amount, by the applicable due date, then
the non-paying party shall (I) pay Interest on any overdue amounts at tha lesser rate of 1.6% par monih or the highest rata
permitted by faw until paid In full and (il) be liable for any and all caste of colteotlon (including reasonable attorney‘a fees) that the

owed party may incur In cannection with this Agraament.

All Invoices and billings Issued by Seller or EDC are conclusively presumed tinal and accurate unless objected to In writing, with
detallad supporting explanation and documentation, within six monthe after the date of the applloable Invoice or billing. If Buyer
disputes any Involce, Buyer shal) nonetheless timely pay the undisputed portion, as weil ae all charges and fees Impoged by the

EDC.

6, Taxes. Sellar shall bill and collect from Buyer sales and use taxes, including any Gross Reoelpte Tax, to the extent thal auch
taxes are or become applicable. Upon billing by Saller, Buyer shall promptly pay the amount of euch taxea te Seller, and Seller
wil report and remit such taxes to the appropriate governmental authority. in the event Buyar is exempt, In whole or In part, from
atate and local faxes, Buyer muat provide Seller a copy of (he appllaable tax exemption certificate; Seller shall collect taxea untll
Buyer hae provided Seller such certificate, Buyar represents and warrants that any tax exemption certiffonte delivered heraundar
shall, at the time of delivery, cet forth tha proper amount of the appileable exemption, and Buyer agrees to prompily notify Geller
of any changes {n such exemption. Fallure to provide Seller the relevant tax exemption certificate will result In full alee and use
taxes boing assessed agalnat Buyer. Buyer shall Indemnity and hold harmless Sellar from any and all losses or olaime arlelng

from or ratated to Seller's reliance on Buyer's tax axemption certificate,

Soller shall ba responstbte fer all appilcable taxes Impased on, of with respect to, Electricity prior to the delivery to the Delivery
Point. Buyer shall pay, or cause to be pald, all other taxes or fees Imposed on, or with respeot to, Electricity upon and after Its
dellvery to the Delivery Paint, including, without Iimitation, any and all federal, state, or looal taxea or fees that may ba Imposed
by any valld texing authority on any transaction undertaken pursuant to this Agreement. If any such taxes that are the
responalbility of Buyer are required to be pad by Sellar, Buyer agrees to promptly relmburee Sellar for such payment.

7, Tile, Indamnily and_Disolalmar, Title to Electricity shal! pass fram Seller to Buyer at the Dalivery Paint. Between Buyer and
Saller, Sailer will be llable for rlek of loas of Electricity prior to Its delivery at the Oallvary Point, and Buyer will be liable for nak of
lose af Elactrialty at and after Ite dalivery to the Delivery Polnt, Further, as between the parties, each party ahall Indemnity,
defend and hold harmiess the other party from and agalnat any clalme, llabilitlaa, lossea or costs (including reasonable
attorneya’ fees) arising frorn or out of any event,-ciraumetance, act or Incident firsl ocourring or existing during the period when
title to Electrialty (s vested in euch party. EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN SECTION 17 OF THESE
TERMS AND CONDITIONS, EACH PARTY HEREBY DISCLAIMS ANY AND ALL REPRESENTATIONS AND WARRANTIES,
EXPRESS OR IMPLIED, OF ANY KIND WHATSOEVER, SELLER HEREBY DISCLAIMS ANY AND ALL WARRANTIES,
EXPRESS OR IMPLIED, WITH RESPECT TO ELECTRICITY INCLUDING, WITHOUT LIMITATION, WARRANTIES OF
MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE.

6, Tarm. The term of thia Agreemant ehall begin on the date Salter executes thle Agreement and shall remain in effect until ha
expiration of the Delivery Perlod, Including any pertod after the Delivery Paricd prior to the EDC meter read transfering service
to another EGS or PLR Service. Seller shall have no obligation to provide Buyer notice of the expiration of thls Agreement but
shall have the right following any termination or expiration of thie Agreement, to the extent allowed by applicable law, to cause

any remaining Faollity to be transferred by the EOC to alther a naw EGS aeiaoted by Buyer or PLR Service.

v.09,18.16 = PO+ T&Cs STANDARD

EXHIBIT 1

 

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 15 of 53

TALEN =&

ENERGY

8, Events of Dofauilt It hall be an event of default (an ‘Event of Default”) under this Agreement If a party (I) makes ars
Sealgnmant or any general arrangement for the benefit of creditors; (Ii) files @ petition or otherwise cammencee, authorizes, or
eoquleaces fo a procesding under any bankruptoy law or haa a bankruploy petition filed or proceeding commenced agalnat It;
(Ill) has a iiquidator, admintatrator, receiver or elmilar official appointed with reapect to a substantial portion of lie assets, (Iv)
otherwies becomes bankrupt or Insolvent (however evidenced), Including general Inability to pay debte as due, (v) falls to pay
any amount due under this Agreement, which failure ia not curad within 3 daye alter hotice of auch failure: (vi) falla to perform
any non-payment material obligation hereunder, which fellure is not cured within 30 daya after notice of such fallure, or (vil) In
the oase of Buyer, falls to provide Performances Assurance In accordance with Sectian 14,

10, Tenninalion. Upon the occurrence of any Event of Default, the non-doefaulting partly shail have the right to terminate thia
Agreement by providing a notice of termination to the defaulting party dasignating a day, no earlier than the day of auch notice
and no later than 10 days after euch notice, as an early termination date (Early Termination Date") for the liquidation and
termination of thie Agreament. On the Early Termination Date, thle Agreement will terminate and be valued in accordance with
Section 11. tn addition, if Buyer ta the defaulting party, Seller may, without Prejudice to ite other remedies under thls Agreement
of applicable law, suspend dollverles of Electricity to Buyer hereunder and tranefor each Facllity to PLR Service or another EGS
to the extent allowed by applicable law, provided that Buyer shall ramatn lable to pay Soller for service provided hereunder unt!
the date of such tranafer, Each party reserves to Itself all tighte of set-off, counterclaim, and other defensas to which it Ie or may
be entlded under applicable law. All rights and obligations of the parties that must survive termination In order to give full force

and effact ta the terma of this Agreemant shall go aurvive,

11, Texminallon Amount. As of tha Early Termination Date, the non-defaulting party shall determine, In good falth and In a
commercially reasonable manner, (I) he amount awed (whather or not then due) by each party with reapact to all Electrioly
dollverad and racalvad before, on or after the Early Termination Date and all other appllaable charges retating to such deliveries
and receipts (Including any amounts owed under Section 2), for which payment hae net yat been made and (I) the Market
Value, as defined below, of this Agreement. The non-defaulting parly shall (+) llquidate end accalerate this Agreement at its
Market Value, so that an amount equal to the differanca batween the Market Value and the Contraot Value, as defined below, of
thie Agreement hall be due to Buyer if such Market Value exceeds the Contract Value and to Seller If the opposite Is the case
{no amount shall be due to the defaulting party under thle subsection (x) and If auch would be the cage the resulting amount
shall be deemed to be zero); and (y) where appropriate, dlacount eaoh amount then due under clause (x) above to present
value In a commerolally reasonable manner aa of the Early Termination Date (to take account of the perlod betwesn the date of
liquidation end the date on which such amount would have otherwise been dua pursuant to this Agresment),

For purposes of thia Saction, ‘Contract Value" means the amount of Eleotrlolty ramalning to be delivered under this Agreamant
based on the remaining months in the Delivery Perlad (‘Remaining Contract Quantity") mulilpiiad by the Contract Price, and
‘Market Value" means the Remaining Contract Quantily multiplied by the market prioa for a eimilar transaction determined by the
non-defaulting party in a commercially reasonable manner, To ascertain the Markal Value, the non-defauliing party may
conalder, among other valuationa, quotations from leading dealers In energy swap contracts or physical electricity trading
markets, simitar sales or purchases and any bona fide third-party offers, all adjusted for the length of the term and differences in
Dallvery Point. A party shall not be required to enter Into a raplacement tranzaction In arder to determine the Market Value, The
non-defaulting party shall net or aggregate, as appropriate, any and all amounte owing between tha partlas undar thls Section,
so that all such amounts are netted or aggregated to a eingle liquidated amount payable by the defaulting party to the

non-defaulting party (the 'Terminafton Amount"),

At its eole option and without prior nottos to the defaulling party, the non-defaulting party may setoif (|) any Termination Amount
owad lo the non-defaulting party againat any paymant eeourity or other collateral held by it in connection with this Agreement or
(|i) any amount payable to the defaulting party against any amount payable by the defaulting parly to the non-defauiting party
under any other agreement or arrangement between the parties. If any obligation that Is to be included In any natting,
aggregation or setoff pursuant o thie Seotion fa unascertalnad, the non-defauiting party may In good falth estimate that
obligation and net, aggregate or seloff, as applicable, In respact of the estimate, subject to the non-defaulling party accounting
to the defaulting party whan tha obligation is ascartalned. Any amount nat then due which Ie included In any netting, aggregalion

v,.00,15,18 - PO+ T&Ca STANDARD

EXHIBIT 1

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 16 of 53

TALEN =

ENERGY

or setolf pureuant to this Sactlon shall be discounted to nat present value In a commercially reasonable manner determined by
the non-defaulting party, As soon as practicable after a termination, the non-defaulting party shall give notice to the defaulling
party Including reagonabie explanation of the calculation of the Termination Amount,

The Termination Amount shall be pald by the close of business on the second business day following auch notice, which date
shall not be earller than the Early Termination Date. The non-defaulting party's remedias under this Section shail be the sole
and exclusive remedies of ihe non-defaulting party with reapeot fo tha cocurrence of an Early Termination Date,

12, Limitatton of Liabitlly. The partlas confirm that the express ramedies and measures of damages In this Agreement eallsty its
eeeential purposes. For breach of any provision for which an express remedy or measure of damages |s provided, such express
remady of measure of damages shall be the sole and exclusive remedy, Ifna remedy or measure of damages la expreaely
provided, a party’e llability shalt be limited to diraot actual damages. tn elther case excapt for a party's Saotlon 7 Indemnification
obligations which shall not be limited by this Seotlen 12, all other ramedias at law or (n equily ere walved, Including Inoldental,
punitive, epaolal, exemplary, Indirect or consequentlal damages, Including lost profits and business interruption damages,
whether arising by statute, In tort or contract ar otherwise. To the extent damages under this Agreement are iIquidated, the
partles acknowledge that such damages are difftoult or mpoeelble to determine and constitute a reasonable approximation of

the harm or losa,

13. Gonfidantlality. Neither party may disclose to a third party the terme of this Agresment or any confidentlal Information of the
other party relating to this Agraamant, other than to the exten! naceagary to perform Its obligations under thia Agreement, ag
may be authorized In this Agreement or as may ba required by appficable law. Each party shall be permittad to diaglose auch
information to (a) ite officers, managers, diractore, employees, agents, accountants, attorneys, consultants and affillates to tha
extent such persone or entitles need to know euch Information and agrao to keep such information confidenttal In accordance
with this Agreement, (b) current and prospective (endera, purchasers or similar parties who have entered into a non-diaclosure
agreement and thelr advieors, counsel and consultants agree to keep euch information confidential and (0) as required by
applicable law or to any national ssourities exchange or elmilar entity as required by the rules of auch untlty, provided that the
disolosing party uses commercially reasonable effarts to obtain confidential treatment of auch information. The obligations
Impoued by this Section 13 shall eurvive for a period of two years after the earlier to accur of the expiration or tarmination of this

Agreement,

14. Cradit, To the extent not provided by Buyar to Seller within 5 business daya of Saller's raqueat therefor, Buyer hereby
suthorizes Salter to obtaln credit Information regarding Buyer (including from the EDC that provides service to Buyer and its
faciiitles) and to make euch Inquires as Saler considers to be necessary to obtaln such credit information and authonzee
Buyer's bank to releage to Seller without inquiry euch credit Information regarding the Buyer. If Seller has reasonable grounds
for neecurity regarding Buyer's creditworthiness, Seller may raquire, In its sole discretion and without prajudice ta other legal
and equitable remedies, that Buyer provide payment security in an amount and form raaeonably satiefactory to Seller
(‘Performance Ageurance"), Buyer shalt provide such Performance Assurance within three business days after Sallere raquest

for same.

18. Walvar of Jury Trial. EACH PARTY TO THIS AGREEMENT KNOWINGLY, VOLUNTARILY, AND INTENTIONALLY
WAIVES ITS RIGHT TO A TRIAL BY JURY IN RESPECT OF ANY ACTION OR OTHER LEGAL PROCEEDING ARISING OUT

OF OR RELATING TO THIS AGREEMENT.

16. Eoro Majaure. (fa party ls unable due to Force Majeure to perform Its obligationa under this Agraement and that party
providea notice thereof to tha other party ae soon as practloable efter [ts accurrence, the obligations of the party affected by the
Force Majeure (other than the payment of amounte due and owing hereunder) shall be suspended for the duration of the Force
Majeure evant. The Delivery Perlod shall not ba extended due to any event of Force Majeure.

17.Reprmsentations. and Warranties. Each party representa and warrante to the other thet (a) it haa the power and authorlly to
perform this Agreement; and (b) the executlon, delivery and performance of thie Agreement has been duly authorlzed by all
necessary action and thls Agresmant ts Ite (agal, valid end binding obligation, In addition, Buyer representa and warrants to

¥,09.16.18 — PO+ TAs STANDARD

EXHIBIT 1

 

 

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 17 of 53

TALEN'

ENERGY

Seller that (|) it ls a non-reeidential business customer that does not receive service under a amall commearolal, small Industrlat or
amall buslnese rate clasalfication and hae a maximum registered peak load In excess of 25 kW within the last 12 monthe, (1) It {s
a commerolal user of Electricity, (ill) (t la acting a principal and not a9 agent for any other parly, (Iv) It le entering (nto this
Agreement with a full understanding of the riaka thereof and (v) It undaratanda that the Electricity usage and related Information
It has provided to Seller farme the baste for the economic terms and condillans of thia Agraement and to the best of Ite

knowledge euch Information ls true and accurate as of the date furnished to Galler.

18, Assignment. No assignment of this Agraament, In whole or in part, may be made without the prior wiltten consent of the
non-aselgning party, which consent shall not be unraasonably withheld, conditioned or delayed, and any attempted assignment
In violation of the foregoing is vold; provided that without the other party's prlor approval but upon prior written notice (a) elther
parly may aselgn this Agreement to an affiliate (b) Buyer may ‘assign ihis Agreement to the purchaser of Iseeor of the Facility, (c)
Sefler may asalgn this Agraement (1) In connectlen with a financing transaction, (I!) to any antily auccesding ta all or a eubatantlal
portion of Seller's aesete, and (Hl) in connection with a sale or other tranefer of thla Agraament to any entity, provided that In the
case of lteme (a), (b) and (c)élll), (x) the creditworthiness of the assignee or successor Ie, In the reasonable fudgmant of the
non-assigning party, equal to or better than that of the assigning party end (y) the aesignse agresa in writing to asaume this
Agreement in all respects. Upon any permitted assignment undar items (a), (b), (c)(il) and (c}(lil) the assigning party shall be
released from any further obligations under this Agresment except for payment of amounts acortied or dua prior to the date of
such agalgnment, If, ae a resull of aselgnment of this Agreement by Buyer, Buyer incurs any additonal charges fram the EDC,
or Its costs of procuring alaatricity Increase, due to a gap In service by the Seller ae a result of thla aseignment or tha EDC's or
Seller's processing of the assignment, then Soller shall have no Habilily ta Buyer or its assignee with respect to any euch

additlonal or Increased costs.

16, Racordings. Uniaes a party expressly objects to a recording at the beginning of a telephone canversatlon, each party
consents to the creailon of a lape or elactronic recording of all telephone converaationa between the partiea to thls Agraemant,
and that any auch recordings will be ratainad In confidence, eecured from Improper access, and may be eubmitted In evidence In
any proaeeding or action relating to this Agraement. Each party waives any further nofice of suoh monitoring or recording, and
agrees to nolify Its offtcers and employaas of such monitoring or recording and to obtain any necessary canaent of such afilcera

and employeee.

20. Miocelfangous. All matters arleing under or ralatad to this Agreement ahall be governed by the lawa of tha Commonwealth of
Pennsylvania, without reference to its choice of law rules. If a change in any law or regulation la enactad, promulgated, modifiad
or repeated on @ temporary or permanent basie after the date of thia Agreement, the EDC or Independant aystem operator alters
market structure, rules or Dellvery Point, or material changes In the electricity markets aoour, which reaulte In new or modified
fees, coats of performance or other charges being Incurred by Seller and other market partiolpante, Including but not fimitad to
changes that increase transmission, Incremental capacity costs, dallvery or ather market charges Inourvad by retall aupptiers or
changes to the Deilvery Point al which Buyer elactrlolty consumption le settled by the EDC, such as zonal to nodal, then Seller
may raagonably allocate and bill the incremental amounts therof to Buyer.

Unteas othenise provided, all willten notloes under this Agrasment shall ba provided by regular mall, emai! (oonfirmed recalpi),
overnight courlsr, facsimile or hand delivery, to the addresses and parsons epecified for the applicable type of notice In the

Purchase Order.

Nathing In this Agreement constitutes or impliag a Joint venture, partnarahip, association ar Imposas or implies any fduclary or
abmilar duly between the parties,

This Agresment may not be amended or modified axcapt In a written document signed by both parties. The failure of eithar
party to demand strot performance of tha terms of, or to exercise any right conferred In, thla Agreement ehall not ba cansinved
a6 & walver or relinquishment of such party's right to aasert or rely upon any such term or right upon a aubsequent breach of »
violation of that provision or as a walver of any breach or violation of any other provistans of this Agreement, The prevailing party
shall be entitled to recalve Its reasonable attorneys' fees and all other cosls and expenses It Inaurs In any legal proceeding

agalnet the othar party related to this Agreement.

v.08.18.16 = PO+ T&Cs STANDARO

EXHIBIT 1

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 18 of 53

TALEN =

ENERGY

This Agraament supersedes all prior or cantemporangous discuselona, representations, underetandings and agreamanta,
whather written or oral, betwaen the parties concerning the aubjact matter of this Agreement and conatitutes Buyer's and Seller's

full and final agreement with respact to all mattera herain.

To the extent a provision (s ruled unclear or unanferesable by a court of law or regulatory authority having jurlediction over the
parties, the provision shall be modified if possible or severad euch that the remaining provisions of thls Agreement remain In
effect and the obligationa of the partiaa under thls Agreement ate enforced, A facsimile copy of this Agreement or copy of thia
Agreement sent via electronic mall In 9 portable document format ('PDF*) will be considered an original,

The Uniform Commercial Code as adopted by Pennsylvania applies to thle Agreament and Electricity la deemed 4 good" for
such purposes. This Agraament conatitutes 4 forward contract’ within the meaning of the United States Bankruptoy Cado, 11

U.S.C, § 101, of seq.

There are no third party beneficiaries to this Agraament,

v.08,15.18 = PO+ T&Ca BTANDARD
40

EXHIBIT 1

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 19 of 53

TALEN @

ENERGY

NEW JERSEY ADDENDUM

Notwithstanding anything to the contrary contained In any Retall Electricity Agreement, Retall Base Contract or
Purchase Order or Transaction Confirmation thereunder ('‘Contract") betwaen Talen Energy Marketing, LLC
(‘Supplier") and the end user purchasing Elsetriclty or Gas (Customer), the following commitments and
understandings apply If either Customer or any of its Dallvery Pointe are located within the State of Naw Jersey;

1. Suppller shall not provide electric generation service or gas supply service to Customer
without Customer's writen algnature(s) on the Contract or suoh alternative forme of varification
identified In N.J.A.C. 14:4-2.3 and aa the New Jersey Board of Publio Utilities ((BPU") may
permit to initlate euch servica(a), far switching Third Party Suppliers or for renewal thereof,

2. The purpose of the Contract Is to authorize a change In Customer's Third Party Suppller.
3. All raferencas ta 'EDC" In the Contract are hereby changed to 'LDC."

4. Supplier shall provide Customer 30 daya written notlos of any termination of any Contract
and an opportunity to remedy the termination condition. The notice shall state Supplier's righte
to terminate the Contract, regardiasa of whether Customer remedies the candition that triggerad

the termination natioa.

5. Suppliar acknowledges and agrees that Customer does not walve any righte It haa under New
Jersey of Federal Consumar Protection laws.

4. Customer's toll-free telephone number Ie 1-866-505-8825.

7. All New Jeraey LDCs’ emergency and toll-frae customer service telephone numbers are:

Atlantic City Electric (0D) 642-3780

Jersey Central Power & Light (800) 462-3115
Public Service Electric & Gas (800) 438-7734
Rockland Electric (877) 434-4100

8. BPU's Division of Cansumer Relations’ toll-fraa talephone number ta: (800) 624-0241

9, Customer ehould oall Ite LDC In the event that an alectrio/gas-related emergency, such as a
gas laak or power outage, axlets.

10, Supplier's name la Talen Energy Marketing, LLC and its license number Issued by BPU Is:
EStl-0183

11. Supplier shall provide notice to Customer at least 30 days prior to the end of the Contract,
Informing Customer of tha date upon which the Contract term ends.

12. ‘SUT' means the taxes Imposed by the New Jeresy "Sales and Use Tex Act" on the price of
the natural gas or Electricity and on the transportation charge hereunder,

13, Hourly LMP Charge customers; SUT lg Included In the Adder.

14, Fixed Price Customers; SUT Is included in the Fixed Price.

v.00.16.18 - PO* T&C8 BTANDARD
1

EXHIBIT 1

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 20 of 53

TALENS

ENERGY

Invoice Number: 46286820

Talen soe Customer Care Center
(888) 289-7693

Monday through Friday

8am. -5 p.m. CST

For power outages and other electrical
emergencies, call your electric distribution
company:

Public Service Electric and Gas - Electr

(800) 880-7734

To view your energy suppl invoaice(s) online or if
au have any questions, please contact Talen
=nergy Customer Care Center at (888) 289-7693

or via email at

CustomerCare@TalenEnergy.com.

Notice to Customers

Mail payments to:

Talen Energy Marketing, LLC
P.O. BOX 825510
Philadelphia, PA 19182-5510

Mail notes and letters in a separate envelope to:
Talen Energy Marketing, LLC

Attn: Retail Electric Operations

1780 Hughes Landing Blvd, Suite 800

The Woodlands, TX 77380

Federal Tax I.D.
PUC License No, ESL-0163

Return this part to address below with check payable to Talen Energy Marketing, LLC. .

TALENY

ENERGY

1780 Hughes Landing Blvd Suite B00
The Woodlands, TX 77380

SHAPESARCH HOLDING LLC
9000 RIVER RD
DELAIR, NJ 08110

Customer: SHAPESARCH HOLDING LLC

Billing Account Number:
Invoice Date: Feb 07, 2018

Page 1 of 2

 

 

Summary
Current Charges $216,464.87
Current Balance $216,464.87

Amount Due Mar 26, 2018:

 

 

Reverse bill for details.

‘, =

Billing Account Number:
invoice Date: Feb 07, 2018

Due Date: Mar 26, 2018
Invoice Total: $216,464.87
Total Amount After Due Date: $216,464.87

Amount Enclosed: | |

 

wy peMM a faag og feed ggg ape TAL Mca tangf|fe

Talen Ener y Marketing, LLC
P.O. BOX 826510
Philadelphia, PA 19182-5510

EXHIBIT 2
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 21 of 53

   

     

  
 

4 : = eee
TALE N =. SHAPESARCH HOLDING LLC

Customer:

    
     
 

 

 

 

ENERGY Billing Account Number:
Invoice Date: Feb 07, 2018
Page 2 of 2
Account#: aici ae Retreat mess GURU enter mer Lc ian Gl ame oe Ce
Service Address: : Read Read
BoP 0-3204 5320901 01/06/18 - 02/02/18 N kWh 2198144,98
ES! Number. PE000010068516143891 Current Charges
Plan: BLOCK_STD Block Index (480,000 x $0,039810 per kVVh) $19108,80
Contract Expiration Date: LMP Charge $137322.46
Monthly Usage History Line Losses ($156431.25 X 0.004259) $664.68
4877230 . Management Fee (2,199,145 x $0,006330 per kWh) $13920.59
: NITS PLC 2607.33 X 0.426591 X 29 days $32255,36
Capacity PLC 2053.03 X 0.22159 X 29 days $13192,99
Current Charges $216,464.87

Sa

1 ~ ote
Jan Feb Mer Apr May Jun Jul Aug Sep Oct Nov Dec Jan

 

0

 

> Rass

Meter Constant - A fixed value which is used when converting meter readings to actual energy use.

Power Factor - A measurement used by some electrical distribution companies to determine the ratic of real power flowing to the load of
apparent power.

OffPk (Off-Peak) - Those periods of time at which energy is being delivered far below the utility's maximum demand.

OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the utility's maximum demand.

kW (kilowatt) - A unit of power equal to 1000 watts.

kWh (kilowatt hour) - The standard unit of measure for electrical energy use. One kWh Is used to light a 100-watt bulb for 10 hours.
kVa (Kilovolt-ampere) - The amount of apparant power in an electrical circuit, equal to the product of voltage and current.

kVAR (Kilo-Volt-Amperes Reactive) - The product of the vollage and the amperage required to excite inductive circuits,

KVARH (Kilo-Volt Amp Reactive Hours) - A measure of energy supplied but not converted into work.

kV (kilovolt) - A unit of elactromotive force, equal to 1,000 volts,

UNDERSTANDING YOUR BILL

Generatlon Charge (Energy Charge) - Charges for the production of electricity.

KW (Kilowatt) - (1)A measure of demand for power during a preset time — minutes, hours, days, months; (2) 1,000 watts — Ten 100-watt fight
bulbs use one KW of electric power.

kWh (Kilowatt-hour) - The basic unit of eleciric anergy for which most customers are charged in cents per kilowatt-hour.

Late Payment Charge - A late payment of 1.500% per month will be appliad to any unpaid balance if paymentis not received by the due
date.

Transmission Charge - Charges for moving high voltage electricity fram a generation facility to the distribution lines of an electric distribution
company.

 

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 22 of 53

TALENS

  
     
  
    
 

 

 

ENERGY Customer: SHAPESARCH HOLDING LLC
Billing Account Number:
Invoice Date: Mar 9, 2018
Paga 1 of 2
Invoice Number: 89975391
(SERRE RAEN ASS Sc eee ST as Se
Talen Energy Customer Care Center
(888) 269-7683 Summary
onday through Friday Cc t Ch 135,971.89
8 a.m. -5 p.m CST stem Snarges __ :
For power outages and other electrical Current Balance $135,971.89
emergencies, call your electric distribution Amount Due Apr 26, 2018:

company:
Public Service Electric and Gas - Electr
(800) B80-7734

To view your energy supply invoice(s) online or if
ou have any questions, please contact Talen
“nergy Custorner Care Center al (888) 289-7693

or via email at

CustomerCare@TalenEnergy.com.

Notice to Customers

Mail payments to:

Talen Energy Marketing, LLC
P.O. BOX 825510
Philadelphia, PA 19182-5510

Mail notes and letters in a separate envelope to:
Talen Energy Marketing, LLC

Altn: Retail Electric Operations

1780 Hughes Landing Bivd, Suite 800

The Woodlands, TX 77380

Federal Tax I.D.
PUC License No. ESL-0163

 

 

Reverse bill for details.

Return this part to address below with check payable to Talen Energy Marketing, LLC.

TALEN@

ENERGY

1780 Hughes Landing Blvd Suite 800
The Woodlands, TX 77380

 
     
 

Billing Account Number:
Invoice Date: Mar 9, 2018

Due Date: Apr 26, 2018

Invoice Total: $135,971.89

Total Amount After Due Date: $135,971.89

Amount Enclosed: | |

e Talen Ener. y Marketing, LLC

P.O. BOX 62
SOG ee ene Philadelphia, PA 19182-5510

9000 RIVER RD
DELAIR, NJ.08110

 
       

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 23 of 53

T, L E N an Customer: SHAPESARCH HOLDING LLC
EN ERGY Billing Account Number:

Invoice Date: Mar 09, 2018
Page 2 of 2

 

Account#:
Service Address: ly
8000 RIVER RD

a Sete) ET ete MMU eat eLHeERed T cchi te Olea Ulee-te (3 ai

Read Read

 

 

DELAIR NJ 08110-3204 5320901 02/03/18 - 03/06/18 N kWh 2438615.04
ESI Number: PE000010088515143991 Current Charges

Plan: BLOCK_STD Block Index (504,000 x $0.039810 per kWh) $20064.24
Contract Expiration Date: LMP Charge $50039.44
Monthly Usage History Line Losses ($70103.68 X 0.00404%) $283.22
oe Management Fee (2,438,615 x $0.006330 per kWh) $15436.43
i NITS PLC 2607.33 X 0.42659 X 32 days $36592.12
Capacity PLC 2053.03 X 0.22159 X 6 days $2728.24
Capacity PLC 2053.03 X 0.22148X 26 days $11828.20
Current Charges $135,971.89

os =e

py T r T r er
Jan Feb Mer Apr May Jun Jul Aug Sap Ocl Nov Dec Jan

 

UNDERSTANDING YOUR METER INFORMATION
Meter Constant - A fixed value which is used when converting meter readings to actual energy use.
Power Factor - A measurement used by some electrical distribution companies to determine the ratio of real power flowing to the load of
apparent power.
OffPk (Off-Peak) - Those periods of time at which energy is being delivered far below the utility's maximum demand.
OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the utility's maximum damand.
kW (kilowatt) - A unit of power equal to 1000 watts.
kWh (kilowatt hour) - The standard unlt of measure for electrical anergy use. One kWh is used to light a 100-watt bulb for 10 hours.
kVa (Kilovolt-ampora) - The amount of apparent power in an electrical circult, equal to the product of voltage and current.
kVAR (Kilo-Volt-Amperes Reactive) - The product of the voltage and the amperage required to excite inductive circuits.
kVARH (Kilo-Volt Amp Reactive Hours) - A measure of energy supplied but not converted Into wark.
kV (kilovolt) - A unit of electromotive force, equal to 1,000 vols,

UNDERSTANDING YOUR BILL

Generation Charge (Energy Charge) - Charges for the production of electricity.

KW (Kilowatt) - (1}A measure of demand for power during a preset time — minutes, hours, days, months; (2) 1,000 watts — Ten 100-watt light
bulbs use one KW of electric power.

kWh (Kilowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kilowatt-hour.

Late Payment Charge - Alate payment of 1.500% per month will be applied to any unpaid balance if payment is not received by the due

date.
Transmission Charge - Charges for maving high voltage electricity rom a generation facility to the distribution lines of an electric distribution

company.

ee __._ EXHIBIT 2 — a

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 24 of 53

- SERVICE ADDRESS: Page 1 BILLING PERIOD
4 SHAPESARCH HOLDING LLC Mar 7, 2018 to Apr 05, 2018
9000 RIVER RD

ENERGY DELAIR NJ 08110

   

     

  
 

 

AMOUNT DUE
Pay This $473,153.71
. Amount DUE DATE:
BILL ACCOUNT NUMBER: May 29, 2048
Ol ettslofqFae sie] Seem tetas (i Cinea ee etuinry ett etsy Ne

 
   

   
 

 

Your,Bill ?

kWh - Average Per Day ACCOUNT BALANCE AS OF APR 11, 2018
78 000 | Previous Balance $352,436.76

Current Charges $120,716.95
s2000. Total Amount Due $473,153.74
26,000 —

MIJJASONDJFMA SUMMARY OF CURRENT CHARGES
2017 Months 2018 Total Talen Energy Charges $120,716.95

Types of Meter Readings: Total Current Charges $120,716.95

Actual [J Estimated |
Average - Apr 2017 2018

ete SPAY SS ‘www. talenenergy.com CVE YUE OLE) UU sie eel iat

   

 

 

 

 

kWh Per Day 64607 ~=—- 66,631

Yearly Use: Total Average

May 17 To Use Monthly TR Te eee
Apr 18 22153368 1846114 (Se Ue Me EL sity Ve) i}
Utility Account Number:

PE000010088515143891

Return this part to address below with a check payable to Talen Energy Marketing, LLC

     

 

 

ATCA ite smtrWt Fs Due | pT Cn
lafelaials: Due |
leizibiaiwinte, Da $473,153.71
wala 15 16 17 18/19 a
ms 9923/24 25 26
27| 26 29 30.31) Amount Enclosed
PW ey |
Poth dh ode fh GR th Hh
SHAPESARCH HOLDING LLC Talen Energy Marketing, LLC
9000 RIVER RD P.O. BOX 9001660
DELAIR Ni 08110 Louisville, KY 40290-1660

44 77O47915397L704 79,5974

EXHIBIT 2
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 25 of 53

Page 2

BILL ACCOUNT NUMBER

- UNDERSTANDING YOUR BILL __
Generation Charge (Energy Charge) - Charges for the production of electricity,

KW (Kilowatt) - (1)A measure of demand for power during a preset time -- minutes, hours, days, months; (2)
1,000 watts -- Ten 100-watt light bulbs use one KW of électric power.

kWh (Kilowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kilowatt-hour

Late Payment Charge - A late payment of 0.000% per month will be applied to any unpaid balance if payment is nat received by the due
date.

Transmission Charge - Charges for moving high voltage electricity from a generation facility to the distribution lines of an electric
distribution company.

 

“ Mail payments to: Talan Energy, P.O. BOX 9001660, Louisville, KY 40290-1660.

* Mail notes and letters in a separate envelope to: Talen Energy, P.O. Box 25225, Lehigh
Valley, PA 18002-5225.

* Federal Tax |.D. XX-XXXXXXX.

* PUC License No. ESL-0003.

473153.71

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 26 of 53

TALEN ~2 ~

EN ERGY AMOUNT DUE
Pay This $473,153.71
Amount DUE DATE:

BILL ACCOUNT NUMBER: May 29, 2016

 
   

 

 

ar power outages =e chat Prior Balance $352,436.76

electrical emergencies, call your

electric distribetion compare Charges for Billing Period for Mar 7, 2018 - Apr 5, 2018

PSE&G - Elec Balance Congestion 1,998,924 kWh at $0.000171 per kWh 341,82

1-800-496-7734 Black Charge 21,019.68
LMP Charge 42,983.17

Utllity Account Number: Mat Charge 1,998,924 kWh @ $0.00633 /kWh 12,653.19

PE000010098515143891 Line Loss $64002.85 times 0.00396 Factor 253.45
UCAP 2053.03 KW @ $0.22148 / KW for 25 days 11,367.68
UCAP 2053.03 KW @ $0.22122 / KW for 5 days 2,270.88
NIT 2607.33 KW @ $0.38132/KWfordO days 29,827.08
Total Charges For This Billing Period $120,716.95
Total Amount Due $473,153.71

 

 

(Meter data on back. )

‘General
iinformatlan

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 27 of 53

Page 4
BILL ACCOUNT NUMBER
Summary of Usage by Meter
Reading Dates Meter Meter Meter Reading
Previous/Present Number Constant Previous / Present Usage Type Usage
Mar 07 Apr 05 N/A 1 0 4] kW 4197.4
Mar 07 Apr 05 5320901 9600 0 0 kWh 199892352
Mar 07 Apr 05 Total 1998923.52

 

 

UNDERSTANDING YOUR METER INFORMATION

Meter Constant - A fixed value which is used when converting meter readings to actual energy use.

Power Factor - a measurement used by some electricat distribution companies to determine the ratio of real power flowing to the
load of apparent power.

OffPk (Off-Peak) - Those periods of time at which energy is being delivered far below the utility’s maximum demand.

OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the utility's maximum demand,

kW (kilowatt) - A unit of power equal to 1000 watts.

kWh (kilowatt hour) - The standard unit of measure for electrical energy use. One kWh is used to light a 100-waitt bulb for 10 hours.
k¥a (Kilovolt-ampere) - The amount of apparent power in an electrical circuit, equal to the product of voltage and current.

kVAR (Kilo-Volt-Amperes Reactiva) - The product of the voltage and the amperage required to excite inductive circuits.

KVARH (Kito-Volt Amp Reactive Hours) - A measure of energy supplied but not converted into work.

KV (kilovolt) - a unit of electromotive force, equal to 1,000 voits.

EXHIBIT 2

 
Case 5:19-cv-04303-

oN

TALEN

ENERGY

  
 

“Questions about Phone
Your Bill?

kWh - Average Per Day

Pesci eC)

HSP Document1 Filed 09/18/19 Page 28 of 53

SERVICE ADDRESS: Page 1 BILLING PERIOD
SHAPESARCH HOLDING LLC Apr 6, 2018 to May 04, 2018
9000 RIVER RD
DELAIR NJ 08110
AMOUNT DUE
Pay This $365,207.50
Amount DUE DATE:

BILL ACCOUNT NUMBER: June 25, 2018

 

Internet/ Online Billing

 
   

EmaniUs At:
CustomerCare@talenenergy.com

 

Wwwitalenenergy.com

ACCOUNT BALANCE AS OF MAY 8, 2018

 

 

 

78,000 |

52,000

26,000 t

J J JASONDJ FMAM
2017 Months 2018
Types of Meter Readings:

Actual Estimated | |
Average - May 2017 2018
kWh Per Day 59379 61,678
Yearly Use: Total Average
dun 17 To Use Monthly
May 18 22058030 1838169

Utility Account Number:
PE000010088515143891

Previous Balance $473,153.71
Payments Recelved - THANK YOU (-$216,464.87)
Balance Remaining $256,688.84
Current Charges $108,518.66
Total Amount Due $365,207.50
SUMMARY OF CURRENT CHARGES
Total Talen Energy Charges $108,518.66
Total Current Charges $108,518.66

ee NSE

 

Return this part to address below with a check payable to Talen Energy Marketing, LLC

our

     

TVS inane

SHAPESARCH HOLDING LLC
9000 RIVER RD
DELAIR NJ 08110

 

| June | aaa a
$ MTWTtF Ss aD | SSS
| fia} 2 Dat
3/4|5,6/7/8 lo} ~-Detal $365,207.50
10) 1 Halas 1445 16 |
17 af. ‘49 20 | 241 jz 23)
(24 25 26 | 27 28 | 29 30,

 

Amount Enclosed

Po Ge ap a
it | i} it
ii i ii '

Li}
13
|

i | ;
, of
1 /

Talen Energy Marketing, LLC
P.O. BOX 9001660
Louisville, KY 40290-1660

 

44 71036520750103965207504

EXHIBIT 2
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 29 of 53

Page 2

BILL ACCOUNT NUMBER

UNDERSTANDING YOUR BILL _

Generation Charge (Energy Charge) - Charges for the production of electricity.

KW (Kilowatt) - (1)A measure of demanc for power during a preset time -- minutes, hours, days, months: (2)
1,000 watts -- Ten 100-watt light bulbs use one KW of electric power.

kWh (Kilowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kilowaft-hour.

Late Payment Charge - A late payment of 0.000% per month will be applied to any unpaid balance if payment is not received by the due
date.

Transmission Charge - Charges for moving high voltage electricity from a generation facility to the distribution jines of an electric
distribution company,

*“ Mall payments to: Talen Energy, P.O. BOX 9001660, Louisville, KY 40290-1660.

* Mail notes and letters In a separate envelope to: Talen Energy, P.O. Box 25225, Lehigh
Valley, PA 18002-5225.

* Federal Tax I.D, XX-XXXXXXX.

* PUC License No. ESL-0003.

365207,50

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 30 of 53

TALEN = ~

F N FE RGY AMOUNT DUE
Pay This $365,207.50
Amount DUE DATE:

June 25, 2018

BILL ACCOUNT NUMBER:

   

  

    

Prior Balance . $256,688.84

For pow outages eng other

electrical emergencies, call your .

electric distribution Snatpeny! Charges for Billing Period for Apr 6, 2048 - May 4, 2048

PSE&G - Elec Biock Charge 20,064.24

1-800-436-7734 LMP Charge 42,552.98
Mgt Charge 1,788,665 kWh @ $0.00632 /kWh 11,322.26

Utility Account Number: Line Loss $62617.2? limes 0.00395 Factor 247 34

PE000010098515143891 UCAP 2053.03 KW @ $0.22122 / KW for 25 days 11,354.40
UCAP 2053.03 KW @ $0.22118 / KW for 4 days 1,816.33
NIT 2607.33 KW @ $0.38132 / KW for 29 days 28,832.85

redil- Incorrect Nits Rate on 2016 Bills ee a _-7,671.73

Total Charges For This Billing Period $108,518.66
Total Amount Due $365,207.50

 

Meter data on back. }

 

 

General
Information

EXHIBIT 2
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 31 of 53

Page 4
BILL ACCOUNT NUMBER
Summary of Usage by Meter
Reading Dates Meter Meter Meter Reading
Previous/Present Number Constant Previous / Present Usage Type Usage
Apr 06 5320901 9600 0 0 kWh 1788665.24
Apr 06 May 04 N/A 1 0 0 kw 4051.2
Apr 06 May 04 Total 1788665.28

UNDERSTANDING YOUR METER INFORMATION

Meter Constant - A flxed value which is used when converting meter readings to actual energy use,
Power Factor - a measurement usad by some electrical distribution companies to determine the ratio of real power flowing to the
load of apparent power.

OffPk (Off-Peak) - Those periods of time at which energy is being dellvered far below the utility's maximum damand.

OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the utility's maximum demand.

kW (kilowatt) - A unit of power equal to 1000 watts.

kWh (kilowatt hour) - The standard unit of measure for electrical energy use. One kWh is used to light a 100-watt bulb for 10 hours.
kVa (Kilovolt-ampere) - The amount of apparent power in an electrical circuit, equal to the product of voltage and current.

kVAR (Kilo-Volt-Amperes Reactive) - The product of the voltage and the amperage required to excite inductive circuits.

kVARH (Kilo-Volt Amp Reactive Hours) - A measure of energy supplied but not converted into work.

lev (kilovolt) - a unit of electromotive force, equal to 1,000 volts.

 

 

EXHIBIT 2

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 32 of 53

SERVICE ADDRESS: Page 1 BILLING PERIOD
a SHAPESARCH HOLDING LLC May 5, 2018 to Jun 05, 2018
9000 RIVER RD

ENERGY DELAIR NJ 08110

AMOUNT DUE
ee This $493,478.58
. | Amount DUE DATE:
BILL ACCOUNT NUMBER: July 23, 2018

Questions about iid UMINCU enon tenn ite netic Ne

Your Bill’? UES k Ney www. talenenergy.com CUstomerCare@taleneneray.com

kWh - Average Per Day ACCOUNT BALANCE AS OF JUN 7, 2018
| Previous Balance $365,207.50

 

78,000

| Current Charges $128,271.08
£2,008 Total Amount Due $493,478.58
26,000

JSASONDJFMAMJ — SUMMARY OF CURRENT CHARGES
2017 = Months = 2018 Total Talen Energy Charges $128,271.08

Types of Meter Readings: Total Current Charges $128,271.08

Actual j= Estimated ,

Average - Jun 2017 2018
kWh Per Day 125600 72,092

 

 

 

Yoarly Use: Total Average

Jul 1? To Use Monthly a seer ane ener i
Jun 18 23323000 1943583 [| 9 Mes UC] PRR othy-1e] <3
Utility Account Number:

PE000010088515143891

Return this part to address below with a check payable to Talen Energy Marketing, LLC

         

DPM ald iS MT WT F §| “Due | SAT
Pea Ea .. Date,
8) 9 {10149 | 42 13] 4g]) > 290) $493,478.58
15-48 147/18) 19 | 20 | 21 |
Ee 24 | 25 | 26 | 27 | 28
a Amount Enclosed
Hod eg
Hoo dp TEE
1 fy ul || Hho oF
SHAPESARGH HOLDING LLC Talen Energy Marketing, LLC
9000 RIVER RD P.O. BOX 9001660
DELAIR NJ 08110 Louisville, KY 40290-1660

44 PHDUAISY7aSeyOeFs4u Pasay

EXHIBIT 2
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 33 of 53

Page 2

BILL ACCOUNT NUMBER

UNDERSTANDING YOUR BILL _

Generation Charge (Energy Charge) - Charges for the production of electricity.

KW (Kilowatt) - (1)A measure of demand for power during a preset time -- minutes, hours, days, months; (2)
1,000 watts -- Ten 100-watt light bulbs usa one KW of electric power.

kWh (Kilowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kllowatt-hour.

Late Payment Charge - A late payment of 0.000% per month will be applied to any unpaid balance if payment is not received by the due
date.

Transmission Charge - Charges for moving high voltage electricity from a generation facility to the distribution lines of an electric
distribution company.

* Mail payments to: Talen Energy, P.O. BOX 9001660, Louisville, KY 40290-1660,

* Mail notes and letters in a separate envelope to: Talen Energy, P.O. Box 25225, Lehigh
Valley, PA 18002-5225.

* Federal Tax |.D. XX-XXXXXXX,

* PUC License No. ESL-0163.

493478.58

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 34 of 53

TALEN 2 ~

E N E RGY AMOUNT DUE
Pay This $493,476.58
Amount DUE DATE:

July 23, 2018

BILL ACCOUNT NUMBER:

       

  
 

$365,207.50

 

 

 

 

fat pewee outages and oo Prior Balance

electrical amergencles, call your seg3 :

electric distribution company: Charges for Billing Period for May 5, 2018 - Jun 5, 2018 7

PSE&G - Elec Block Charge REST ~~ 20,064.24

1-800-436-7734 LMP Charge 45,215 36
Mat Charge 2,306,939 kWh @ $0.00633 /kWh 14,602.92

Utility Account Number: Line Loss $65279.6 times 0.00384 Factor 250.87

PE000010088515143891 UCAP 2053.03 KW @ $0.22118 / KW for 27 days 12,260.23
UCAP 2943.61 KW @ $0.27598 / KW for 5 days 4,061.90
NIT 2607.33 KW @ $0.38132 / KW for 27 days 26,844.38
NIT 2607.33 KW_@ $0.38132 / KW for 5 davs 4,971.18
Total Charges For This Billing Period $128,271.08
Total Amount Due $493,478.58

(eter data on back. )
-General
Information

EXHIBIT 2
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 35 of 53

Page 4
BILL ACCOUNT NUMBER
Summary of Usage by Meter
Reading Dates Meter Meter Meter Reading
Previous/Present Number Constant Previous / Present Usage Type Usage
May 05 5320901 9600 0 0 kWh 2306938.56
May 05 Jun 05 N/A 1 0 0 kw 4542.7
Total 2306938.56

May 05 Jun 05

 

UNDERSTANDING YOUR METER INFORMATION

Meter Constant - A fixed value which is used when converting meter readings to actual energy use,
Power Factor - a measurement used by some electrical distribution companies to determine the ratio of real power flowing to the

load of apparent power.
OffPk (Off-Peak) - Those periods of time at which energy is being delivered far below the utility's maximum demand.

OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the ulility's maximum demand.

kW (kilowatt) - A unit of power equal to 1000 watts.
kWh (kilowatt hour) - The standard unit of measure for electrical energy use, One kWh is used to light a 100-watt bulb for 10 hours.

kVa (Kilovolt-ampere) - The amount of apparent power in an electrical circuit, equal to the product of voltage and current.
KVAR (Kilo-Volt-Amperes Reactlve) - The product of the voltage and the am perage required to excite inductive circuits.

kVARH (Kilo-Volt Amp Reactive Hours) - A measure of energy supplied but not converted into work,
kV {kilovalt) - a unit of electramotive force, equal to 1,000 volts.

 

EXHIBIT 2

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 36 of 53

TALENS

ENERGY

Invoice Number: 80374159

Talen Energy Customer Care Center
(888) 289-7693

Monday through Friday

8 a.m.-5 p.m. CST

For power outages and other electrical
emergencies, call your electric distribution
company:

Public Service Electric and Gas - Electr
(800) 880-7734

To view your energ Supply invoices) online or if
au have any questions, please contact Talen
nergy Customer Care Cenler at (888) 269-7693

or via email al

CustomerCare@TalenEnergy.com.

Notice to Customers

Mail payments to:

Talen Energy Marketing, LLC
P.O.BOX 9001660
Louisville, KY 40290-1660

Mail notes and letters in a separate envelope to:
Talen Energy Marketing, LLC

Attn: Retail Electric Operations

1780 Hughes Landing Bivd, Suite 800

The Woodlands, TX 77380

Federal Tax |.D.
PUC License No. ESL-0163

Return this part to address below with check payable to Talen Energy Marketing, LLC.

TALENS

ENERGY

1780 Hughes Landing Blvd Suite 800
The Woodlands, TX 77380

61

SHAPESARCH HOLDING LLC
9000 RIVER RD
DELAIR, NJ 08110

Customer: SHAPESARCH HOLDING LLC

Billing Account Number:
Invoice Date:
Page 4 of 2

SCRE SSA ee ee

Summary

Jul 13, 2018

 

 

Previous Statement Amount $493478.58
Payment Received. Thank you. -$13597 1.89 Credit
Balance Forward $357506.69
Current Charges $128362.05
Current Balance $485868.74
Amount Due Aug 27, 2018: $485868.74

 

Reverse bill for details.

 
   
 

  

Billing Account Number:
Invoice Date: Jul 13, 2018
Due Date: Aug 27, 2018

Invoice Total: $485868.74
Total Amount After Due Date: $487794.17

Amount Enclosed | |

af La fhe gg NFAY gf UAN PUN tft ggg fgg Heelan AULA pA
Talen Energy Marketing, LLC

P.O.BOX 90071660
Louisville, KY 40280-1660

 

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 37 of 53

A LE N SS, Customer: SHAPESARCH HOLDING LLC

ENERGY Billing Account Number:

invoice Date: Jul 13, 2018
Page 2 of 2

SPH =. = Sere

 

 

 

 

Account#: : Moter# Service Period Est Unit Previous Curcent Mult Usage
Service Address: ; AEC aaa Le
Bsc 5320901 06/06/18 - 07/05/18 N kWh 9600 2066278.080
ES! Number: PE000010088515143891 Current Charges
Plan: BLOGK_STD Block Index $20064.24
Contract Expiration Date: 01/01/19 LMP Charge $40055.29
Monthly Usage History Line Losses ($60,119.53 X 1.992888%) $1198.11
4877230 = Management Fee (1,562,278 x $0.006330 per kWh) $9889.22
~~ 1 TT = | NIFS PLC 2,607.328 X 0.357631 X 30 days $27973.84
| learnt] l\- Capaclly PLC 2,943,605 X 0.264209 X 30 days $23066.87
i | | | Slate Sales Tax $6114.48
| | | | | i| | Current Charges $128362.05
'
ify it | il
o™ T T oe | r T 7 T T rT

 

 

 

 

dul Aug Sep Oct Nav Dec Jan Feb Mar Apr May Jun Jul

UNDERSTANDING YOUR METER INFORMATION _

Meter Constant - A fixed value which is used when converting meter readings to actual energy use,

Power Factor - A measurement used by some electrical distribution companies to determine the ratlo of real power flowing to the load of
apparent power,

OffPk (Off-Peak) - Those periods of time at which energy is being delivered far below the utility's maximum demand.

OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the utility's maximum demand.

kW (kilowatt) - A unit of power equal lo 1000 watts.

kWh (kilowatt hour) - The standard unit of measure for electrical energy use. One kWh is used to light a 100-watt bulb for 10 hours.
kVa (Kilovolt-ampere) - The amount of apparent power in an electrical circull, equal to the product of voltage and current.

kVAR (Kilo-Volt-Amperes Reactive) - The product of the voltage and the amperage required to excite inductive circuits.

KVARH (Kilo-Volt Amp Reactive Hours) - A measure of energy supplied but not converted into work.

kV (kilovelt) -A unit of electromotive force, equal to 1,000 volts.

UNDERSTANDING YOUR BILL

Generation Charge (Energy Charge) - Charges for the production of electricity.

KW (Kilowatt) - (1)A measure of demand for power during a preset time -- minutes, hours, days, months; (2) 1,000 watts -- Ten 100-watt light
bulbs use one KW of electric power.

kWh (Kilowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kilowatt-hour,

Late Payment Charge - A late payment of 1.500% per month will be applied to any unpald balance if payment is not received by the due
date.

Transmission Charge - Charges for moving high voltage electriclty from a generation facility to the distribution lines of an electric distribution

company. / _EXHIB IT 2

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 38 of 53

TALENS

ENERGY

Invoice Number: 75287683

Talen Energy Customer Care Center
888) 289-7693

onday through Friday
8 a.m. -5 p.m. CST

For power outages and other electrical
emergencies, call your electric distribution
company:

Public Service Electric and Gas - Electr

(800) 880-7734

To view your energy supply inveice(s) online or if
u have any questions, please contact Talen
=snergy Customer Care Center at (888) 289-7693
or via email al
CustomerCare@TalenEnergy.com.

Notice to Customers

Mail payments to:

Talen Energy Marketing, LLC
P,O.BOX 9001660

Louisville, KY 40290-1660

Mail notes and letters ina peperate envelope to:
Talen Energy Marketing, LL .
Attn: Retail Electric Operations

1780 Hughes Landing Blvd, Suite 800

The Woodlands, TX 77380

Federal Tax I.D.
PUC License No. ESL-0163

Return this part to address below with check payable to Taten Energy Marketing, LLC.

TALENS

ENERGY

1780 Hughes Landing Bivd Suite 800
The Woodlands, TX 77380

20.

eg SHAPESARCH HOLDING LLC
9000 RIVER RD
DELAIR, NJ 08110

 

 

 

Customer: SHAPESARCH HOLDING LLC

Billing Account Number:

Invoice Date: Aug 08, 2018

Page 1 of 2

Summary
Previous Statement Amount $485868.74
Balance Forward $485868.74
Current Charges $118361.36
Current Balance $604230.10
Amount Due Sep 24, 2018: $604230.10

Reverse bill for details.

  
   

Billing Account Number:
Invoice Date: Aug 08, 2018
Due Date: Sep 24, 2018
invoice Total: $604230.10
Total Amount After Due Date: $606005.52

Amount Enclosed: | |

 

 
 

 

aa de AA ggg hg A HUNG YUU Ag Aol gpug gy HL on Le HELL
Talen Fe eee Marketing, LLC

P.O.BOX 90

Louisville, KY 40290-1660

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 39 of 53

ALE N SJ, Customer: SHAPESARCH HOLDING LLC
ENERGY Billing Account Number:

Invoice Date: Aug 08, 2018
Page 2 of 2

 

 

 

 

 

Account#: (i lcsie. 3 Service Period | Est Unit Previous Current Mult Tee
Service Address: mel Read Read
mao PRA 5320901 07/06/18 - 08/03/18 N kWh 9600 1815589.440
ESI Number: PE000010088515143891 Current Charges
Plan: BLOCK STD Block Index $20084,24
Contract Expiration Date: 01/01/19 LMP Charge $34025.13
Monthly Usage History Line Losses ($54,069.37 X 1.920126%) $1038.58
4877230 ss Management Fee (1,311,589 x $0.006330 per kWh) $8302.36
— — - ~) NITS PLC 2.607.328 X 0.357631 X 29 days $27041,38
Woe Gapacily PLC 2.943.605 X 0.261209 X 29 days $22297.97
| | _ State Sales Tax $5591.70
| | Current Charges $118361.36
| |
0 ea tate te teter

Aug Sep Ocl Nov Dec Jan Feb Mar Apr May Jun Jul Aug

UNDERSTANDING YOUR METER INFORMATION

Meter Constant - A fixed value which is used when converting meter readings to actual energy use.

Power Factor - A measurement used by some electrical distribution companies to determine the ratio of real power flowing to the load of
apparent power.

OffPk (Off-Peak) - Those periads of time at which energy is being delivered far below the utility's maximum demand.

OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the utility's maximum demand.

kW (kilowatt) - A unit of power equal to 1000 watts.

kWh (kilowatt hour) - The standard unit of measure for electrical energy use. One kWh is used to light a 100-watt bulb for 10 hours,
kVa (Kilovolt-ampere) - The amount of apparent power in an electrical circuit, equal to the product of voltage and current.

kVAR (Kilo-Volt-Amperes Reactive) - The product of the voltage and the amperage required to excite inductive circuits.

kVARH (Kilo-VoltAmp Reactive Hours) - A measure of energy supplied but not converted into work.

kV (kilovolt) - A unit of electromotive force, equal to 1,000 volts,

UNDERSTANDING YOUR BILL

Generation Charge (Energy Charge) - Charges for the production of electricity. .

KW (Kilowatt) - (1)A measure of demand for power during a preset time -- minutes, hours, days, months: (2) 1,000 watts -- Ten 100-watt light
bulbs use one KW of electric power.

kWh (Kilowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kilowatt-hour,

Late Payment Charge - A late payment of 1.500% per month will be applied to any unpaid balance if payment is not received by the due
date.

Transmission Charge - Charges for moving high voltage electricity from a generation facility to the distribution lines of an alectric distribution

company, EXHIBIT 2

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 40 of 53

TALENS

ENERGY

Invoice Number: 18739275

Talen Energy Customer Care Center
(888) 289-7693

Monday through Friday
8am.-5p.m, CST

For power outages and other electrical
emergencies, call your electric distribution
company:

Public Service Electric and Gas - Electr

(800) 880-7734

To view your energy supply invoice(s) online or if
ou have any questions, please contact Talen
nergy Customer Care Center at (888) 289-7693

or via email at

CustomerCare@TalenEnergy.com.

Notice to Customers

Mail payments to:

Talen Energy Marketing, LLC
P.O.BOX 9001660

Louisville, KY 40290-1660

Mail notes and letters ina Seperate envelope to:
Talen Energy Marketing, LL
Attn: Retail Electric Operations

~ 1780 Hughes Landing Blvd, Suite 800
The Woodlands, TX 77380

Federal Tax I.D.
PUC License No. ESL-0163

Customer:

invoice Date:
Page 1 of 2

(PSR ET a eet ar St,

Billing Account Number:

Sa Ss SSE |
Summary

SHAPESARCH HOLDING LLC

Sap 07, 2018

 

 

 

Return this part to address below with check payable to Talen Energy Marketing,

TALEN@

ENERGY

1780 Hughes Landing Blvd Sulte 800
The Woodlands, TX 77380

a

a SHAPESARCH HOLDING LLC
; 9000 RIVER RD
DELAIR, NJ 08110

Previous Statement Amount $604230.10
Payment Received. Thank you. -$10000.00 Credit
Payment Received. Thank you. -$9482.11 Credit
Payment Received. Thank you. -$30000.00 Credit
Balance Forward $554747,99
Current Charges $122163.29
Current Balance $676911.28
Amount Due Oct 22, 2018: $676911.28

Reverse bill for details.
LLC. | a
Billing Account Number:
Invoice Date: Sep 07, 2018
Due Date: Oct 22, 2018
Invoice Total: $676911.28
Total Amount After Due Date: $678743.73

Amount Enclosed |

VALE egy lg Afgh peg YUU AU Aye gyag fgg Hvala HLA fH

 
 

  
   

 

Talen nate Marketing, LLC
P.O.BOX 9001660

Lou

isville, KY 40290-1660

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 41 of 53

A LL E N S,, Customer: SHAPESARCH HOLDING LLC

ENERGY Billing Account Number:
Invoice Date: Sep 07, 2018

Page 2 of 2

 

 

 

 

Account#: : Service Period Est Unit Previous Current Mult Usage |
Service Address: Read | Read |
eee 40-3204 5320901 08/04/18 - 09/04/18 N kWh 9800 +719403.200
ESI Number: PE000010088515143891 Current Charges
Plan: BLOCK STD Block Index $20064 24
Contract Expiration Date: 01/01/19 LMP Charge $33119.36
Monthly Usage History Line Losses ($53, 183,60 X 1,83703%) $977.00
4877230 - Management Fee (1,215,403 x $0.006330 per kWh) $7693.50
- r= | NITS PLC 2.607.328 X 0.357631 X 32 days $29838.76
Capacity PLC 2.943.605 x 0.261209 X 32 days $24604,66
| - = State Sales Tax $5865.77
| | [ | | | | [| | | Current Charges $122163.29
t it i it
er T T T ¥ t T ¥ T

Sep Ocl Nov Dec Jan Fab Mit Apr May Jun Jul Aug Sap

—— See *

UNDERSTANDING YOUR METER INFORMATION
Meter Constant - A fixed value which is used when converting meter readings to actual energy use. .
Power Factor - A measurement used by some electrical distribution companies to determine the ratio of real power flowing to the load of
apparent power.
OffPk (Off-Peak) - Those periods of time at which energy is being delivered far below the utility's maximum demand.
OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the utility's maximum demand.
kW (kilowatt) - A unil of power equal to 1000 watts.
kWh (kilowatt hour) - The standard unit of measure for electrical energy use. One kWh is used to light a 400-watt bulb for 10 hours.
kVa (Kilovolt-ampere) - The amount of apparent power in an electrical circuit, equal to the product of voltage and current.
kVAR (Kilo-Volt-Amperes Reactive) - The product of the voltage and the amperage required to excite inductive circuits,
kVARH (Kilo-Volt Amp Reactive Hours} -A measure of energy supplied but not converted into work,
kV (kilovolt) - A unit of electromotive force, equal to 1,000 volts.

UNDERSTANDING YOUR BILL

Generation Charge (Energy Charge) - Charges for the production of electricity.

KW (Kilowatt) - (1)A measure of demand for power during a preset lime -- minutes. hours, days, months; (2) 1,000 watts -- Ten 100-wait light
bulbs use ane KW of electric power.

kWh (Kilowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kilowatt-hour.

Late Payment Charge - A late payment of 1.500% per month will be applied to any unpaid balance if payrnent is not received by the due

date.
Transmission Charge - Charges for moving high voltage electricity from a generation facility to the distribution lines of an electric distribution

company.
RE

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 42 of 53

TALENS

 

 

ENERGY Customer: SHAPESARCH HOLDING LLC
Billing Account Number:
invotce Date: Oct 08, 2018
Page 1 of 2
Invoice Number: 66312453 RS —— a
Talen Energy Customer Care Center
888) 289.7603 Summary
onday through Friday Previous Statement Amount $676911.28
8a.m.-5p.m, CST Balance Forward $676911.28
For power outages and othet electrical Current Charges $96642.50
emergencies, call your electric distribution Current Balance $773553.78
company:
Public Service Electric and Gas - Electr Asnount Due Nov 26, 2018: $773553.78
(800) 880-7734

To view your anergy supply invoice(s) online or if
ou have any questions, please contact Talen
nergy Customer Care Center at (888) 289-7693

or via email at

CustomerCare@TatenEnergy.com.

Notice to Customers

Mail payments to:

Talen nergy Marketing, LLC
P.O. BOX 825510
Philadelphia, PA 19182-5510

Mail notes and letters in a separate envelope to:
Talen Energy Marketing, LLC

Attn: Retail Electric Operations

1780 Hughes Landing Blvd, Suite 800

The Woodlands, TX 77380 v

Federal Tax I.D.
PUC License No. ESL-0163

 

 

Reverse bill for details.

 

Return this part to address below with check payable to Talen Energy Marketing, LLC.

TALEN@

ENERGY

1780 Hughes Landing Blvd Suite 800
The Woodlands, TX 77380

 
      

Billing Account Number:
Invoice Date: Oct 08, 2018
Due Date: Nov 26, 2018

Invoice Total: $773553.78
Total Amount After Due Date: $775267.00

   
 
 

 

 
 

 

Amount Enclosed | |

Talen Ener y Marketing, LLC

P.O, BOX 82
SOO eee Philadelphia, PA 19182-5510

BAS ‘he
Kae §=— 9000 RIVER RD
DELAIR, NJ.08110

2

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 43 of 53

A LE N = Customer: SHAPESARCH HOLDING LLC

EN ERGY Billing Account Number:

Invoice Date: Oct 08, 2018
Page 2 of 2

 

 

Account#: Mette: YTaatesW or Tiloye) Est Unit Previous Current Mult Usage
Service Address: GET] Read
Sees cea 0-3204 5320901 09/05/18 - 10/03/18 N kWh 9600 1733938,560
ES] Number: PE000010088515143891 Current Charges
Plan: BLOCK STD Misc. Adjustment - Credit - Sales Tax -$17571.95 Credit
Contract Expiration Date: 01/01/19 Block Index (504,000 x $0.039810 per kWh} $20064.24
Monthly Usage History LMP Charge $31844.92
4877230 = Line Losses ($51,909.16 X 1.922913%) $998.17
~ s et ~ Management Fee (1,733,938 x $0.006330 per kWh) $10975.63
TH ft | Ir NITS PLC 2,607.328 X 0.357631 X 29 days $27041,38
| Capacity PLC 2,942.848 X 0.261209 X 29 days $22292.24
| } | | TE RPS Increase (175,430 x $0.005687 per kWh) $997.67
4 Heit tt | | II i Current Charges $96642.50

 

Oct Nov Dec Jan Feti Mar Apr May Jun Jul Aug Sep Oct

UNDERSTANDING YOUR METER INFORMATION

Meter Constant - A fixed value which is used when converting meter readings to actual energy use.

Power Factor - A measurement used by some electrical distribution companies to determine the ratio of real power flowing to the load of
apparent power,

OffPk (Off-Peak) - Those periods of time at which energy is being delivered far below the utility's maximum demand,

OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the ulility’s maximum demand.

kW (kilowatt) - A unil of power equal to 1000 watts,

kWh (kilowatt hour) - The standard unit of measure for electrical energy use. One kWh is used to light a 100-watt bulb for 10 hours.
kVa (Kilovolt-ampere) - The amount of apparent power in an electrical circuit, equal to the product of voltage and current.

KVAR (Kilo-Volt-Amperes Reactive) - The product of the voltage and the amperage required to excite inductive circuits.

kVARH (Kilo-Volt Amp Reactive Hours) - A measure of energy supplied but not converted Into work.

kV (kIlovolt) - A unit of elactromotive force, equal to 1,000 volls.

UNDERSTANDING YOUR BILL

Generation Charge (Energy Charge) - Charges for the production of electricity.

KW (Kilowatt) - (1)A measure of demand for power during a preset time -- minutes, hours, days, months; (2) 1,000 watts -- Ten 100-watt light

bulbs use one KW of electric power.

kWh (Kllowatt-hour) - The basic unit of alectric energy for which most customers are charged in cents per kilowatt-hour.

Late Payment Charge - A late payment of 1.500% per month will be applied to any unpaid balance if payment is not received by the due
date.

Transmission Charge - Charges for moving high voltage electricity from a generation facility to the distribution lines of an electric distribution

company.

_ —. SRE T BIT 2 a

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 44 of 53

TALENS ee
ENERGY

Customer: SHAPESARCH HOLDING LLC
Billing Account Number:
Invoice Date: Nov 06, 2018

Page 1 of 2
Invoice Number: 64461087
SSS EE See orgesge st

 

 

Talen Energy Customer Care Center

(888) 289-7603 Summary

Monday through Friday Previous Statement Amount $773553.78
8 a.m. -5 p.m. CST Balance Forward $773553.78
For power outages and other electrical Current Charges $121195.07
emergencies, call your electric distribution Current Balance $894748.85
company:

Public Service Electric and Gas - Electr Amount Due Dec 21, 2018: $894748.85
(800) 880-7734

To view your energy supp! invoice(s) online or if
ou have any questions, please contact Talen
=nergy Customer Care Center at (888) 289-7693
or via ernail at
CustomerCare@TalenEnergy.com.

Notice to Customers

Mail payments to:

Talen Energy Marketing, LLC
P.O. BOX 825510
Philadelphia, PA 19182-5510

Mail notes and letters in a separate envelope to:
Talen Energy Marketing, LLC

Attn: Retail Electric Operations

1780 Hughes Landing Blvd, Suite 800

The Woodlands, TX 77380

Federal Tax |.D.
PUC License No. ESL-0163

 

 

Reverse bill for details.

a — eo —— ee

Return this part to address below with check payable to Talen Energy Marketing, LLC.

TALENS

ENERGY

1780 Hughes Landing Blvd Suite 800
The Woodlands, TX 77380

 
      

Billing Account Number:
Invoice Date: Nov 06, 2018
Due Date: Dec 21, 2018
Invoice Total: $894748.85
Total Amount After Due Date: $896566.78

    
 
    
 

 

Amount Enclosed | |

val padded aa fa fog h feed gg EN ecg HU NA AM one sag fff
, paven Ener y Marketing, LLC
hee SHATESAECH HOLDING LLC Philadelphia, PA 19182-5510

9000 RIVER RD
DELAIR, NJ 08110

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 45 of 53

| ALE N =, Customer: SHAPESARCH HOLDING LLC

EN ERGY Billing Account Number:
Invoice Date: Nov 06, 2018

Page 2 of 2

 

 

 

 

Account#: | MWeaGte) Service Period Est Unit Previous Current Mult [OEE Tels}
Service Address: : ST AC
OEP 0-3204 5320901 10/04/18 - 11/01/18 N kWh 9600 1562143,680
ESI Number: PE000010088515143891 Current Charges
Plan; BLOCK_STD Block Index (504,000 x $0,039810 per kWh) $20064.24
Contract Expiration Date: 01/01/19 LMP Charge $32024.55
Monthly Usage History Line Losses ($52,088.79 X 2.016006%) $1050.11
4877230 — Management Fee (1,562,143 x $0.006330 per kWh) $9888.37
| NITS PLC 2,607.328 X 0.357631 X 29 days $27041.38
‘a | Capacity PLC 2,936.283 X 0.261209 X 29 days $22242.51
| _ RPS Increase (1,562,143 x $0.005687 per kWh) $8883.91
| | | | | | | ] Current Charges $121195.07
OT 7 ! T T Ts | CST ee kil

 

Nov Dec Jan Feb Mar Apr May.lun Jui Aug Sap Oct Nov

UNDERSTANDING YOUR METER INFORMATION
Meter Constant - A fixed value which is used when converting meter readings to actual energy use.
Power Factor - A measurement used by some electrical distribution companies to delermine the ratio of real power flowing to the load of
apparent power,
OffPk (Off-Peak) - Those periods of time at which energy is being delivered far below the utility's maximum demand,
OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the utility's maximum demand.
kW (kilowatt) - A unit of power equal to 1000 walls.
kWh (kilowatt hour) - The standard unit of measure for electrical anergy use. One kWh is used to light a 100-watt bulb for 10 hours.
kVa (Kilovolt-ampere) - The amount of apparent power in an electrical circuit, equal to the product of yotlage and current.
kVAR (Kilo-Volt-Amperes Reactive) - The product of the voltage and the amperage required to excite Inductive circuits,
KVARH (Kilo-Volt Amp Reactive Hours) - A measure of energy supplied but not converted Into work.
kV (kilovolt) - A.unit of electromotive force, equal to 1,000 volts.

UNDERSTANDING YOUR BILL

Generation Charge (Energy Charge) - Charges for the production of electricity.

KW (Kilowatt) - (1)A measure of demand for power during a preset time -- minutes, hours, days, months; (2) 1,000 watts -- Ten 100-watt light
bulbs use one KW of electric power.

kWh (Kitowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kilowatt-hour.

Late Payment Charge - A late payment of 1.500% par month will be applied to any unpaid balance if payment is not received by the due

date.
Transmission Charge - Charges for moving high voltage electricity from a generation facility to the distribution lines of an electric distribution

company.
_...___ EXHIBIT 2 — re

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 46 of 53

TALEN scum
EN ERGY Customer: SHAPESARCH HOLDING LLC

Billing Account Number:
Invoice Date: Dec 07, 2018

Page 1 of 2

Se SS

Invoice Number: 96227465
Talen Energy Customer Care Center
888) 289-7893 Suuntary

 

 

londay through Friday Previous Statement Amount $894748.85
8 a.m. - 5 p.m. CST Payment Received. Thank you. -$80716.95 Credit
For power outages and other electrical Balance Forward $814031.90
emergencies, call your electric distribution Current Charges $135798.02
company:
Public Service Electric and Gas - Electr Current Balance $949829.92
(800) 880-7734 Amount Due Jan 21, 2019: $949829.92

To view your energy SuppNy invoices) online or if
‘ou have any questions, please contact Talen
=nergy Customer Care Center at (888) 289-7693

or via email at

CustomerCare@TalenEnergy.com.

Notice to Customers

Mail payments to:

Talen Energy Marketing, LLC
P.O, BOX #35510
Philadelphia, PA 19182-5510

Mail notes and letters in a separate envelope to:
Talen Energy Marketing, LLC

Attn: Retail Electric Operations

1780 Hughes Landing Blvd, Suite 800

The Woodlands, TX 77380

Federal Tax .D.
PUC License No. ESL-0163

 

Reverse bill for detaits.

 

Return this part to address betow with check payable to Talen Energy Marketing, LLC.

TALENS

ENERGY

1780 Hughes Landing Blvd Suite 800
The Woodlands, TX 77380

 
     
 

Billing Account Number:
Invoice Date: Dec 07, 2018
Due Date: Jan 21, 2019
Invoice Total: $949829.92
Total Amount After Due Date: $951866.89

   
   
 

 

 
 

Amount Enclosed | |

4) Talen Ene y Marketing, LLC

P.O. BOX 82
One Philadelphia, PA 19182-5510

9000 RIVER RD
DELAIR, NJ 08110

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 47 of 53

4 , _ os
| A L E N =. Customer: SHAPESARCH HOLDING LLC

EN ERG Billing Account Number:
Y Invoice Date: Dec 07, 2018

Page 2 of 2

 

 

 

   

Account#: « Wieser: s Service Period Est Unit Previous Current Mult Usage |
Service Address: eer) Sete]
SE aae 10-3204 5320901 1102/18 - 12/04/18 N kWh 9600 1745018.880
ESt Number: PE000010088515143891 Current Charges
Plan: BLOCK STD Block Index (528,000 x $0.039810 per kWh) $21019 68
Contract Expiration Date: 01/01/19 LMP Charge $40753.20
Monthly Usage History Line Losses ($61,772.88 X 1.724789%) $1065.45
4877230 " Management Fee (1,745,019 x $0.006330 per kWh) $11045.97
_ mr NITS PLC 2.607.328 X 0.357631 X 33 days $30771.22
1 Capacity PLC 2,936 283 X 0.21898 X 33 days $21218.58
RPS Increase (1,745,019 x $0.005687 per kWh) $9923.92
ITT Tr Current Charges $135798.02

 

~ he
Dac Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dac

UNDERSTANDING YOUR METER INFORMATION
Meter Constant - A fixed value which is used when converting meter readings to actual energy use.
Power Factor - A measurement usad by some electrical distribution companies to deterrnine the ratio of real power flowing to the load of
apparent power,
OffPk (Off-Peak) - Those periods of time at which energy is being delivered far below the utility's maximum demand.
OnPk (On-Peak) - Those periods of time at which energy is being delivered near or at the utility's maximum demand.
kW (kilowatt) - A unil of power equal to 1000 walls.
kWh (kilowatt hour) - The standard unil of measure for electrical energy use, One kWh is used to light a 100-watt bulb for 10 hours.
kVa (Kilovolt-ampere) - The amount of apparent power in an electrical circuil, equal to the product of voltage and current.
KVAR (Kilo-Volt-Amperes Reactive) - The product of the vollage and the amperage required to excite inductive circulls,
KVARH (Kilo-Volt Amp Reactive Hours) - A measure of energy supplied bul act converted inte work,
KV (kilovolt) - A unit of electromotive force, equal to 1,000 volts.

UNDERSTANDING YOUR BILL

Generation Charge (Energy Charge) - Charges for the production of electricily.

KW (Kilowatt) - (1)A measure of demand for power during a preset lime -- minutes, hours, days, months; (2) 1,000 watts ~ Tan 100-watt light
bulbs use one KW of electric power.

kWh (Kllowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kilowatt-hour,

Late Payment Charge - A late payment of 1.500% per month will be applied lo any unpaid balance if payment is not received by the dua
date.

Transmission Charge - Charges far maving high voltage electricity from a generation facility to the distribution lines of an electric distribution

a: EXHIBIT 20.

 
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 48 of 53

TALENS

ENERGY

Invoice Number: 45265773

Talen Energy Customer Care Center
888) 289-7693

londay through Friday
8a.m.-5 p.m. CST

For power outages and other electrical
emergencies, call your electric distribution
company:

Public Service Electric and Gas - Electr

(800) 880-7734

To view your energy supply invoice(s) online or if
ou have any questions, please contact Talen
energy Customer Care Center at (888) 289-7693
or via email at
CustomerCare@TalenEnergy.com.

Notice to Customers

Mail payments to:

Talen Energy Marketing, LLC
P.O, BOX 825510
Philadelphia, PA 19182-5510

Mail notes and letters in a separate envelope to:
Talen Energy Marketing, LLC

Attn: Retail Electric Operations

1780 Hughes Landing Blvd, Suite 800

The Woodiands, TX 77380

Federal Tax I.D.
PUC License No. ESL-0163

Return this part to address below with check payable to Talen Energy Marketing, LLC.

TALEN@

ENERGY

1780 Hughes Landing Blvd Suite 800
The Woodlands, TX 77380

5

me 4 SHAPESARCH HOLDING LLC
; 9000 RIVER RD
DELAIR, NJ 08710

(SSE eS TTI eS 2 eae re ees oe

Customer: SHAPESARCH HOLDING LLC
Billlng Accaunt Number:
Involce Date: Jan 09, 2019

Page 1 of 2

Summary
Previous Statement Amount

$949829.92

 

 

Payment Received. Thank you. -$10000.00 Credit
Balance Forward $939829.92
Current Charges $117406.99
Current Balance $1057236.91
Amount Due Feb 25, 2019: $1057236.91

 

 

Reverse bill for details.

 

 
      

Billing Account Number: -
Invoice Date: Jan 09, 2019
Due Date: Feb 25, 2019

Invoice Total: $1057236.91
Total Amount After Due Date: $1058998.01

 
 
 

 
 
 

 

Ameunt Enclosed | |

Talen Energy Marketing, LLC
P.O. BOX 825510
Philadelphia, PA 19182-5510

EXHIBIT 2
 

Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 49 of 53

wy * = :
A LL IE N =, Customer: SHAPESARCH HOLDING LLC

NERG Billing Account Number:
E R tnvoice Date: Jan 09, 2019

Page 2 of 2

 

 

Account#: Meter? RY=Tadt I ok alex es Est Unit Previous Current Mult Usage {
Service Address: Read Read
Gs oseon 5320901 42/06/18 - 01/04/19 N kWh 9600 1447994,880
ESI Number: PEG00010088515143891 Current Charges
Plan: BLOCK STD Black Index (432,000 x $0.039810 per kWh) $17197.92
Contract Expiration Date: LMP Charge $39629.07
Monthly Usage History Line Losses ($50,826.99 X 1.638419%) $832.76
4877230 Management Fee (1,447,995 x $0.006330 per kWh) $9165.81
i rs i NITS PLC 2,563.221 X 0.357631 X 31 days $28417.31
Capacity PLC 2,935.807 X 0.21888 X 31 days $19929.37
_ RPS Increase (1,447,995 x $0.005687 per kWh) $8234.75
{ - | T Current Charges $117406.99

 

 

DB
Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dsc Jen

UNDERSTANDING YOUR METER INFORMATION
Meter Constant - A fixed value which is used when converting meter readings to actual energy use.

Power Factor - A measurement used by some electrical distribution companies to determine the ratio of real power flowing to the load of
apparent power.

OPK (Off-Peak) - Those periods of time al which energy is being delivered far below the utility's maximum demand.

OnPk (On-Peak} - Those periods of time at which energy is being delivered near or at the utility's maximum demand.

kW (kilowatt) - A unil of power equal lo 1000 walis.

kWh (kilowatt hour) - The standard unit of measure for electrical energy use. One kWh is used {to light 4 100-watt bulb for 10 hours.
kVa (Kilovolt-ampere) - The amount of apparent pewer in an electrical circuit, equal to the producl of voltage and current.

KVAR (Kilo-Volt-Amperes Reactive) - The product of tha voltage and the amperage required to excite inductive circuits,

KVARH (Kilo-Volt Amp Reactive Hours) - A measure of energy supplied but not converted into work.

kV (kilovoilt) - A unit of electrornotive farce, equat to 1,000 volls.

UNDERSTANDING YOUR BILL

Generation Charge (Energy Charge) - Charges for the production of electricily.
KW (Kilowatt) - (1)A measure of demand for power during a preset time -- minutes, hours, days, months; (2) 1,000 watts -- Ten 100-waitt light

bulbs use one KW of elactric power.
kWh (Kilowatt-hour) - The basic unit of electric energy for which most customers are charged in cents per kilowatl-hour.
Late Payment Charge - A lale payment of 1.500% per month will be applied to any unpaid balance if payment is not received by the due

data.
Transmission Charge - Charges for moving high voltage electricity from a generation facility to the distribution lines of an electric distribution

company,

_ _________EXHIBIT. 2 ~~ — —

 
19-cv-04303-HSP Document1 Filed 09/18/19 Page 50 of 53

Case 5

86°E9EOL
ve TES'eL
20'Er9'PT

ELL02'ST
ze teesT
vESTSBT
PEI TZ
92°6b0'SZ
BLLT9'ST

predun
uO jsa733u]

GZ
PIe
Sve

042
SOE
EEE
TSE
36E
ber

Suipueysing
sheq

SL02/b/71
B10Z/6c/TL
gtazsez/s
BT0¢/ST/e

GLOZ/ST/B

StOz/E/L
8102/82/93
8102/1 /9
Z16Z/OT/OT
B10Z/ees/y

s3€q Ped

Bets

Gorge Tet

 

62°286'SST

T6'9E2‘250'T
26°623'6E6
06 'TEO'POS
£8'9¢2'780
BL°80¥‘002
EEPET‘ORS
vOTEO'roy
89'699'SrE
Eo 40E'¢TZ
SS'9E0‘68
{Tt ze¢'a)
ve vETTL
v8'vEZ'TOT
e2ve?'TIT

(68°T26'SET)

Surpueisyno,
Jwhowy

WII] WSK] 13d
£Z/8 40 Se |RJOL

2/8 40 se saa]

{00"p00‘0T)
(seat z‘08)
(c0'ae0'0¢)
(00'000'0T)

(I'78P'5)

6S TL6'SET
(68'1z6'SET)
(68°126'SET)
(2£°99'/T1)
(28° y$¥'9T2)

qwnowr wawAeg

TO9ETLSOT
7e6z8'6E6
06'TE0'H08

£8°9E8'789

82800004
££ vel‘9gs
yO TEO'rop
89°690'ste
€9°Z0E‘ZTZ
55°9£0'66

VSVETTL

PS YET‘TOT
ve VET TIT
SO'STL'OZL

(68°T26's€T)
68'126'SEL
22°9Sb'ZTE
EX b9p'91Z
ang (301

76°6786E6
06'TEQ'r08
ER 9ER'ZRS
8L°20b'002

ES SET‘ ORS
vO'TED' bap
89°690'SrE
€9°L0EEIZ
SS°9¢0'68
(TE-Zap'b}
vB YETTL
e8'VEZ'TOL
VB PET'ELL

(68°TZ6'SeT)

souejeg
Sunuuidag

(S6'TzS'zt)
22-s98°5

O£'TBS'S
Sy PIT'9

Sexel

66°90¢'2TT
CO'862’GET
L0°S6L'T2T

SP ULZ'PTT
79°262°STL
99°692'21T
LS°Lb7'72T
BO TLZ'87T
99°8TS'S0L

se9TL‘orT

68°TL6'SET
CL 950 ETT
E83 bop'°9Iz

sagueys Adiauy saBey> joy

66'90b°ZTT
20°862‘SEE
LO'SEL'TZT

(S6'TZS‘LT)

Sv pTe'vTL
67 E9T'22T
SET9E'RTT
$0°79E'S7T
80°TL2'8ZT
99°BTS ‘BOT

S69TZ ‘071

6S TL6'SET
C£9Sb' LIL
23'y9r'9Tz

ero7/s7/z
GLOZ/TZ/T
8T0Z/TZ/z7t

S10z/97/TT

gL0¢/az/Tt
810¢/2z/0T
$102/b7/6
8102/27/83
SLOZ/EZ/z
8102/S7/9
8102/62/S
8T0¢/Ez/s
8T02/6c/S

s02/6e/s

3T02/90/t
8I0Z/9Z/b
8T07/92/P
BT0Z/9Z/e
8107/97/E
meq
wanbuyaq

610Z/6/T
stoe/e/zr
STOZ/S/TT

810z/3/oT

8t0z/8/01
8t07/¢/6
8102/8/2
STOZ/ET/Z
8t0z/£/9
atoz/s/s
STOC/ET/e
STOZ/TT/e
810?/Tt/p

STOe/Tt fe

ST0e/6/€
8102z/6/E
gt07/6/e
St0z/L/z
gt0z/2/Z
a12q
Wausayers

6T0Z/b/T
8102¢/b/2T
BLOz/T/TT

8TOZ/E/OT.
gto7/t/6
8t0z/€/8
8t0Z/s/z
st0¢/s/9
ST0z/¢/s

810z/9/E

8T0z/2/z
aq
peay puz

ageya

agueyD

aaueyD

Saxe)

JOy Juawasnipy ISI
aguey)

adey

Bey

agueyd

suey)

aduey>
wawdAed jemeg
waded jeed
waded jee,

quawAey jened/avey

quawaAed pauiniay
qautAeg ayesydng
quawAed/aveyp
43jSUeJ) JuawAeg
JuawAey/adsey5

adAy

OTOZ ‘Ez sndimy

oT ‘sadeys wnuWunTy YIM 3eNUED JEpUA PARQ KUNOWY
371 “Buyayzeyy Aduaug vajey

EXHIBIT 3
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 51 of 53

A | = N wg 1780 Hughes Landing, Suite 800
= The Wocdlands, TX 77380

ENERGY

VLA EMAIL AND OVERNIGHT COURIER
August 27, 2019

Aluminum Shapes L.L.C,

9000 River Rd.

Delair, NJ 08110

Attn: Jim Cackowski

Email: jeachowski@shapesilc.com

for Retail Electricity Agreement

Dear Mr. Cackowski:

Reference is made to that certain Retail Electricity Agreement between Talen Energy Marketing, LLC
(“Talen”) and Aluminum Shapes L.L.C. (“Shapes”) dated October 26, 2017 (the “Agreement”),

As you are aware, the Delivery Period under the Agreement expired December 31, 2018. However, Talen
has not yet received payment of $1,057,236.91 due and payable to Talen under the Agreement for service
through the end of the Delivery Period. Additionally, because these amounts were not paid when due,
pursuant to Section 5 of the Agreement Talen is owed interest on these unpaid balances. As of the date of
this letter, the amount of interest due is $158,073.3 0, and will continue to accrue at a rate of $521.38 per

day until the unpaid balance is paid in full.

Attached for your reference is a copy of the Agreement as well as a schedule of invoiced amounts and
payments received under the Agreement, and copies of the relevant invoices. This letter follows numerous
attempts by Talen Customer Care representatives to reach Shapes’ representatives, which calls have been
unanswered and/or not returned.

Talen hereby demands immediate payment of all outstanding amounts owed under the Agreement as set
forth above, viz., $1,215,310.21 including interest accrued through the date of this letter, plus $521.38 per
day for each day thereafter until payment is received.

Please forward your payment by wire transfer to the following account:

  
 
 

Bank:

Account Name:
Routing/ABA Number:
Account Number:
SWIFT Code:

‘Talen Linergy Marketing, LLC

Please he advised that if payment in fullis not received within LO (ten) business days following receipt
of this letter, Talen reserves all rights to pursue collection and any all other remedies available under law.

 

   

EXHIBIT 4
Case 5:19-cv-04303-HSP Document1 Filed 09/18/19 Page 52 of 53

Aluminum Shapes L.L.C.
August 27, 2019
Page 2 of 2

Additionally, please be advised that pursuant to Section 5 of the Agreement, Shapes will be liable to Talen
for all collection costs, including without limitation reasonable attorneys’ fees, incurred by Talen to enforce
its rights under the Agreement.

Talen reserves all rights and remedies which it may have under the Agreement and/or any applicable
federal, state and/or local laws, rules and regulations, whether at law or in equity. This letter shall in no
way constitute nor be deemed to be any waiver of any rights, defenses or remedies available to Talen,

If you have any questions please do not hesitate to contact us at 281-203-5300. We look forward to prompt
receipt of your payment.

Sincerely,

On behalf of Talen Energy "CD.
7 "WIAD,
Thomas G, Douglass, Jr.

Deputy General Counsel
Talen Energy Supply, LLC

Enclosures

ony a Ww

EXHIBIT 4
19-cv-04303-HSP Document1 Filed 09/18/19 Page 53 of 53

Case 5

89°S6S'0T
22° 665'bT
60°788'bT

eOeer'st
ES TCL
GE Te.'ST
9S p00'z2
64 20€'S7
TS'76d’8T

Biedun
uO Jsasaluy

€Bt
8Te
6bz

Ste

Suipueysing,
sAeq

SETS 3S9429U] LAI 12d

Wore Stet £2/8 JD se [eIOL

GE EZO'ST €7Z/@ 40 SB Isayaqu

T6GEZ'LSO'T

76°628'66

06 Te0"r0g

£8°9E9'Z89

$4'80b'00L

Ee"v6T ‘gS

PO TE0'rar

$9'699'SrE

ES'LOE‘ZTZ
S02/b/2t §5'920'68 {00'000‘0T)
SL02/62/TL (Tr-z8p'6) (56°9T2‘08)
810¢/E7/8 VE VETTL (00'000'ce)
ST0Z/sT/8 ve VET TOT (00°000'0T)
8102Z/SL/2 PQ 'PECTIT (T0-z8p‘6)
BT0z/E/ ‘ 68 TL6‘SET
8107/82/9 (6s T26‘SEr} (68 TZ6'Set)
St0z/ET/9 _ (6gT26°S€T)
£00z/0T/or (22-95e'ZTT)
STOC/ cfr (£8°$9b'9T7)

Suipueysino
S1eq Pied lunowy qwnowe wawAey

 

T69E7'E50'T
¢6°678'6E6
06 TEO’PO8
CR 9ES'789
82°80b'00L
€€°VEL98S
vOTEO rar
89°699'SbE
£9 L0E'/TZ
SS’9E0'66
PSEC TL
ve'vez‘LOT
vSPEZ TIT
Se'STZ'0ZT

(68°E26‘SET}
68°T6'SET

ZO9S¢'LTT
L3'v9P'9TZ

ang (ey

26°678'BE6
06'TED'bOs
£e'9682R9
8280002
Ee v6r'9a¢
vOTEO'Pay
89'699'ShE
€9°20€'LTZ
SS'9€0‘68
(1U-78¢'6)
PREC TL
PS'VEZ'LOT
ve've? TIT

(68° TL6‘SET)

aoueeg
Suuuizag

(s@TzS'2T)

2£°598'S
OZ'T6s’S
SP PITS

saxel

66°900'£TT
7O°862'SET
LO'S6T'TT

Sb'pT?‘eTT
@S'262'°9TT.
99'°694 ZIT
CS'LP2'T2T
80°T/7'87T
99°8TS‘R0T

56 9LZ‘oz1

68T26'SET
7L95e'LTT
L8v9r'9Tz

Sadueyy ASiauy sadey> jew. |

66°90b‘LTL
70'B62'SET
£0°S6U'TZE
{(s6"zs‘ZT)
Sept Z'PUL
6ZEST'22T
SETIE'BIT
SO°29€B7T
SOTLe'SZE
99°8TS‘S0T

S69TL‘0ZT

6S TLESET
ZL9Sb LTT
L3°r9p9OTZ

610z/se/e
6LOz/T2/t
gtoz/Te/er

8T0¢/9Z/TT

8T0Z/9Z/TE
810¢/ze/or
8T0Z/P2/6
8102/22/38
STO/Ee/L
810z/Sz/9
8007/62/S
8T02/67/s
aToc/6z/s

8T02¢/627/S

8107/9t/p
8107/9%/b
B10Z/97/b
8T0¢/97/E
st0z/9z/E
meq
wanbuyjag

6107/6/T
8TOC/L/2T
SUOC/9/TT

8T0Z/8/0T

3102/82/01
BLOz/t/6
810z/9/8
STOZ/ET/Z
810z/Z/9
810¢/3/s
SlOz/TI/p
8LOz/Tt/e
BLOZ/TL/b

ST0¢/TT/r

8T0Z/5/E
stoc/ese
810Z/6/E
BLOC/L/Z
stoz/e/e
a1eq
qaWareys

6TOZ/e/T
810t/p/7T.
SLOZ/T/IT

8102z/£/01
8t0Z/b/6
BTOz/E/e
Btoc/s/e
8T0¢/s/9
8T02/e/s

BTOZ/9/E

sto2/2/z
aed
peay pug

aavey

392y3

yaseyD

Saxey

404 Juawasnipy “ay
atueyD

a5sey)

aaueyd

aaeyD

aaeyD

aSeyy
quewAed jeweg
quawaey jeueg
WAAR, jeueEY

quawAeg |enueg/a3zeuD

quawAed pawnay
qwawAed ajerdag
quawAed /asreyD
JAySUPAL JsUAeY
quawAeg/adJeup

adAy

BLOz “2z snany

DTI ‘sadeys wnununyy yum perue7 J3PUP) PAMO Runouny
OTI Sunayaeyy Ad39u3 uxe,

EXHIBIT 4
